                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE


                                         )
 JOHN M. SCHULZ,                         )
 Derivatively on Behalf of MALIBU BOATS, )   Civil Action No.
 INC.,                                   )
                                         )
 Plaintiffs,                             )
                                         )   DEMAND FOR JURY TRIAL
 vs.                                     )
                                         )
 JACK D. SPRINGER, RITCHIE L.            )
 ANDERSON, BRUCE W. BECKMAN,             )
 DAVID S. BLACK, WAYNE R. WILSON, )
 JAMES R. BUCH, IVAR S. CHHINA,          )
 MICHAEL J. CONNOLLY, MICHAEL K.         )
 HOOKS, MARK W. LANIGAN, JOAN M. )
 LEWIS, PETER E. MURPHY, JOHN E.         )
 STOKELY, and NANCY M. TAYLOR,           )
                                         )
 Defendants,                             )
                                         )
 – and –                                 )
                                         )
 MALIBU BOATS, INC.,                     )
                                         )
                                         )
 Nominal Defendant                       )
                                         )



                 VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT




 {00658295;1 }
Case 3:25-cv-00142-TAV-DCP     Document 1     Filed 04/08/25    Page 1 of 58   PageID
                                      #: 1
          Plaintiff John M. Schulz (“Plaintiff”), by and through his undersigned attorneys, brings

 this Verified Stockholder Derivative Complaint (the “Complaint”) for the benefit of nominal

 defendant Malibu Boats, Inc. (“Malibu” or the “Company”), against Individual Defendants Jack

 D. Springer (“Springer”), Ritchie L. Anderson (“Anderson”), Bruce W. Beckman (“Beckman”),

 David S. Black (“Black”), Wayne R. Wilson (“Wilson”), James R. Buch (“Buch”), Ivar S.

 Chhina (“Chhina”), Michael J. Connolly (“Connolly”), Michael K. Hooks (“Hooks”), Mark W.

 Lanigan (“Lanigan”), Joan M. Lewis (“Lewis”), Peter E. Murphy (“Murphy”), John E. Stokely

 (“Stokely”), and Nancy M. Taylor (“Taylor”) (collectively, the “Individual Defendants”) for

 their breaches of fiduciary duties as directors and/or officers of Malibu, unjust enrichment, and

 violations of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”).

 Plaintiff alleges the following upon information and belief, except as to the allegations

 specifically pertaining to Plaintiff, which are based on personal knowledge.

          Plaintiff’s allegations are based upon personal knowledge as to Plaintiff and Plaintiff’s

 own acts, and upon information and belief, including a review of publicly available information,

 including filings by Malibu with the U.S. Securities and Exchange Commission (“SEC”), press

 releases, news reports, analyst reports, investor conference transcripts, publicly available filings

 in lawsuits, and matters of public record. Plaintiff believes that substantial evidentiary support

 will exist for the allegations set forth herein after a reasonable opportunity for discovery.

          I.     INTRODUCTION

          1.     This is a shareholder derivative action brought against certain current and former

 Malibu officers and members of the Company’s Board of Directors (the “Board”) that seeks to

 remedy wrongdoing committed by the Individual Defendants from November 4, 2022 through

 the present (the “Relevant Period”). The wrongdoing alleged herein has caused substantial



 {00658295;1 }                               –2–
Case 3:25-cv-00142-TAV-DCP             Document 1 Filed 04/08/25             Page 2 of 58        PageID
                                              #: 2
 damage to Malibu’s reputation, goodwill, and standing in the business community and has

 exposed Malibu to substantial potential liability for violations of federal securities laws and the

 costs associated with defending itself.

          2.     Malibu designs, manufactures, and markets recreational powerboats, which

 include performance sport, sterndrive, and outboard boats. The Company sells its boats via a

 network of independent dealers, including dealers operating under the common control of

 Tommy’s Boats (“Tommy’s”). In fiscal year (“FY”) 2023, sales to Tommy’s dealers represented

 approximately 23.3% of consolidated sales for Malibu brand boats and approximately 10.7% of

 the Company’s consolidated net sales.

          3.     Leading up to the Relevant Period, the boating industry experienced a COVID 19-

 fueled sales boom as socially distancing customers flocked to buy boats. At this time, Malibu’s

 sales skyrocketed, growing 42% from FY 2020 to FY 2021, and another 30% from FY 2021 to

 FY 2022. By mid-2022, however, the boat sales boom was losing momentum, with industry

 sources forecasting retail demand for 2023 to sharply decline by 50% from 2022 levels.

          4.     In contrast to the Individual Defendants’ public statements at the time, the retail

 demand for Malibu’s products was severely impacted by the slowdown in the boat market and

 the broader economy during the Relevant Period.

          5.     On February 20, 2024, before the market opened for trading, the Individual

 Defendants caused Malibu to announce that the Company and its Chief Executive Officer

 (“CEO”), defendant Springer, had “mutually agreed” that defendant Springer would no longer

 serve as CEO. No other reason for his departure was provided. On this news, the Company’s

 stock price fell $4.33 or over 9%, to close at $43.15 per share on February 20, 2024, on

 unusually heavy trading volume.



 {00658295;1 }                              –3–
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25           Page 3 of 58      PageID
                                             #: 3
          6.     On April 11, 2024, after the market closed, the Individual Defendants caused the

 Company to reveal that Tommy’s had sued Malibu in the U.S. District Court for the Eastern

 District of Tennessee, alleging that the Company had “engaged in an elaborate scheme” to

 “pump nearly $100 million” worth of inventory into Tommy’s dealerships since late 2022 to

 “artificially inflate Malibu’s sales performance.”1 According to the complaint filed in the

 Tommy’s Action, Malibu forced the Company’s highest priced, highest margin, slower selling

 “Malibu” branded inventory (as opposed to the lower margin, but faster selling “Axis”) brand

 onto Tommy’s dealerships.

          7.     The Company recognizes a sale once a dealer accepts delivery of the boat,

 regardless of whether it has been sold to the end user. This alleged channel stuffing scheme

 allowed the Individual Defendants to report that Malibu experienced strong wholesale demand

 and sales, even as the end user demand declined. Thus, through this scheme, the Individual

 Defendants caused Malibu to continue to report strong sales while forcing Tommy’s to become

 inundated with unneeded boats. Moreover, the Company allegedly withheld incentive payments

 it owed Tommy’s for nearly two years before Malibu abruptly cut ties with Tommy’s.

          8.     Further, the Individual Defendants had considerable leverage over Tommy’s

 because it was heavily dependent on Malibu for its business, as the Company’s boats made up

 more than 80% of Tommy’s sales. When the COVID-sales boom began to wane, the Individual

 Defendants began pressuring Tommy’s into purchasing millions worth of unneeded, high-margin

 Malibu boats and increasing its dealership “floor plan” financing limits with lenders by 70%,

 1
        The complaint was filed in the Eastern District of Tennessee, styled Tommy’s Castaic,
 LLC et al v. Malibu Boats, Inc. et al, Case No.: 3:24-cv-00166 (the “Tommy’s Action”). The
 Tommy’s Action was voluntarily dismissed on August 19, 2024 as part of a settlement, with
 Malibu agreeing to pay $3.5 million to Tommy’s. The settlement also required Malibu to drop its
 $9.6 million claim against Tommy’s in the bankruptcy case discussed herein.



 {00658295;1 }                             –4–
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25          Page 4 of 58     PageID
                                            #: 4
 from $50 million to $85 million, so that Tommy’s could purchase and store the additional

 Malibu boats. Moreover, defendants Springer and Wilson threatened the head of Tommy’s that

 Tommy’s would lose its status as a Malibu authorized dealer if it did not take on the unneeded

 boats.

          9.     On this news, the Company’s stock price fell $3.34, or nearly 8%, to close at

 $38.48 per share on April 12, 2024. The Company’s common stock price continued to fall during

 the next trading session, declining $2.34 or 6% to close at $36.14 per share on April 15, 2024.

 The Company’s stock price has only continued to decline since, and currently trades for

 approximately $27 per share.

          10.    Throughout the Relevant Period, the Individual Defendants made materially false

 and/or misleading statements, as well as failed to disclose materially adverse facts about the

 Company’s business, operations, and prospects. Specifically, the Individual Defendants failed to

 disclose to stockholders that: (1) the Individual Defendants engaged in and/or permitted an

 “elaborate scheme to over manufacture and pump nearly $100 million of its highest priced,

 highest margin, slow moving boat inventory into fifteen Tommy’s dealerships”; (2) the

 Individual Defendants caused or permitted the artificially inflation of Malibu’s sales

 performance, market share, and stock value; (3) the Individual Defendants caused the Company

 to withhold certain incentives and rebates from its dealers; (4) the Company faced substantial

 risk of litigation from one of its top dealers, Tommy’s; (5) the Company’s CEO left Malibu due

 to his role in the illicit scheme described herein; and (6) as a result of the foregoing, the

 Individual Defendants’ positive statements about the Company’s business operations, and

 prospects were materially misleading and/or lacked a reasonable basis.

          11.    To make matters worse, defendant Springer, along with other Individual



 {00658295;1 }                             –5–
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 5 of 58   PageID
                                            #: 5
 Defendants, caused the Company to engage in the illicit scheme to dump inventory onto dealers

 in a concerted effort to misrepresent the Company’s financial position, thus securing generous

 compensation and other lucrative financial awards for members of senior management, as

 enumerated in the Company’s Annual Proxy Statements filed with the SEC on September 15,

 2023, and September 19, 2024.

          12.    As set forth herein, and as alleged in the ongoing federal securities class action in

 the U.S. District Court for the Southern District of New York styled Retiree Benefit Trust of the

 City of Baltimore v. Malibu Boats, Inc., et al, Case No. 1:24-cv-03254-LGS, (the “Securities

 Class Action”), Malibu’s officers and directors substantially damaged the Company by

 repeatedly issuing false and misleading statements that omitted material adverse facts.

          II.    THE PARTIES

          A.     Plaintiff

          13.    Plaintiff is a current Malibu stockholder and has continuously held Malibu

 common stock since December 19, 2022.

          B.     Nominal Defendant

          14.    Nominal defendant Malibu is a Delaware corporation with its principal executive

 offices located at 5075 Kimberly Way, Loudon, Tennessee 37774. Malibu’s shares trade on the

 Nasdaq Global Select Market (“NASDAQ”) under the ticker symbol “MBUU.”

          C.     The Individual Defendants

          15.    Defendant Springer served as the Company’s CEO from February 2010 to May

 2024. He was a member of the Board from the Company’s initial public offering (“IPO”) in

 February 2014 until his resignation in May 2024. He was also a director of Malibu Boats

 Holdings, LLC (“MBH”) from May 2009 until the Company’s recapitalization in connection




 {00658295;1 }                               –6–
Case 3:25-cv-00142-TAV-DCP             Document 1 Filed 04/08/25            Page 6 of 58      PageID
                                              #: 6
 with the IPO in February 2014. During the Relevant Period, defendant Springer received at least

 $7,459,329 in total compensation from the Company. During the Relevant Period, defendant

 Springer sold over $1.5 million worth of Malibu stock based on material nonpublic information

 (“MNPI”).

          16.    Defendant Anderson has served as the Company’s President since February 2024.

 After the departure of defendant Springer in 2024, he served as a member of the Office of the

 CEO from May 2024 to August 2024. Defendant Anderson previously served as the Company’s

 Chief Operating Officer (“COO”) from September 2013 until his appointment as CEO. He joined

 the Company in July 2011 as the Company’s Vice President of Operations. During the Relevant

 Period, defendant Anderson has received at least $7,185,139 in total compensation from the

 Company. During the Relevant Period, defendant Anderson sold over $1 million worth of

 Malibu common stock while in possession of MNPI.

          17.    Defendant Beckman has served as the Company’s Chief Financial Officer

 (“CFO”) since November 2023. During the Relevant Period, defendant Beckman has received at

 least $1,142,266 in total compensation from the Company.

          18.    Defendant Black served as the Company’s Interim CFO from April 2023 to

 November 2023. Defendant Black has also served as the Company’s Corporate Controller since

 November 2020. Previously, defendant Black served as the Company’s Director of Internal

 Audit. During the Relevant Period, defendant Black received at least $1,206,699 in total

 compensation from the Company.

          19.    Defendant Wilson served as the Company’s CFO from November 2009 to May

 2023. During the Relevant Period, defendant Wilson received at least $1,340,666 in total

 compensation from the Company.



 {00658295;1 }                            –7–
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25          Page 7 of 58     PageID
                                           #: 7
          20.    Defendant Buch has served as a Company director since the Company’s IPO in

 February 2014. Defendant Buch is a member of the Audit Committee and the Nominating and

 Governance Committee. During the Relevant Period, defendant Buch received at least $364,178

 in total compensation from the Company.

          21.    Defendant Chhina has served as a Company director since the Company’s IPO in

 February 2014. Defendant Chhina is Chair of the Audit Committee and is a member of the

 Nominating and Governance Committee. During the Relevant Period, defendant Chhina received

 at least $394,219 in total compensation from the Company.

          22.    Defendant Connolly has served as a Company director since the Company’s IPO

 in February 2014. Defendant Connolly is Chair of the Nominating and Governance Committee

 and is a member of the Compensation Committee. During the Relevant Period, defendant

 Connolly received at least $380,200 in total compensation from the Company.

          23.    Defendant Hooks has served as a Company director since the Company’s IPO in

 February 2014 and is currently Chairman of the Board. He was also a director of MBH from

 May 2009 until the Company’s recapitalization in connection with the February 2014 IPO.

 Defendant Hooks is a member of the Nominating and Governance Committee. During the

 Relevant Period, defendant Hooks received at least $433,606 in total compensation from the

 Company.

          24.    Defendant Lanigan has served as a Company director since the Company’s IPO in

 February 2014. Defendant Lanigan was also a director of MBH from May 2009 until the

 Company’s recapitalization in connection with the February 2014 IPO. Defendant Lanigan is

 Chair of the Compensation Committee and is a member of the Nominating and Governance

 Committee. During the Relevant Period, defendant Lanigan received at least $384,205 in total



 {00658295;1 }                            –8–
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25         Page 8 of 58     PageID
                                           #: 8
 compensation from the Company.

          25.    Defendant Joan M. Lewis (“Lewis”) served as a Company director from July

 2019 until August 2024. Defendant Lewis was a member of the Compensation Committee and

 the Nominating and Governance Committee. During the Relevant Period, defendant Lewis

 received at least $364,178 in total compensation from the Company.

          26.    Defendant Peter E. Murphy (“Murphy”) has served as a Company director since

 the Company’s IPO in February 2014. Defendant Murphy is a member of the Compensation

 Committee and the Nominating and Governance Committee. During the Relevant Period,

 defendant Murphy received at least $451.678 in total compensation from the Company.

          27.    Defendant Stokely has served as a Company director since the Company’s IPO in

 February 2014. Defendant Stokely is a member of the Audit Committee and the Nominating and

 Governance Committee. During the Relevant Period, defendant Stokely received at least

 $364,178 in total compensation from the Company.

          28.    Defendant Taylor has served as a Company director since April 2023. Defendant

 Taylor is a member of the Audit Committee and the Nominating and Governance Committee.

 During the Relevant Period, Defendant Taylor received at least $258,984 in total compensation

 from the Company.

          29.    Defendants Springer, Anderson, Beckman, Black, and Wilson may collectively be

 referred to herein as the “Officer Defendants.”

          30.    Defendants Springer and Anderson may collectively be referred to herein as the

 “Insider Trading Defendants.”

          III.   JURISDICTION AND VENUE

          31.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because



 {00658295;1 }                             –9–
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25           Page 9 of 58     PageID
                                            #: 9
 Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C.

 §78n(a)(1), Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9. This Court has

 supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).

          32.    This Court has personal jurisdiction over each defendant named herein because

 each Defendant is either a corporation that conducts business in and maintains operations in this

 District or is an individual who has sufficient minimum contacts with this District to render the

 exercise of jurisdiction by the courts of this District permissible under traditional notions of fair

 play and substantial justice.

          33.    This derivative action is not a collusive action to confer jurisdiction on a court of

 the United States that would not otherwise have such jurisdiction.

          34.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because: (i) Malibu

 maintains its principal place of business in this District; (ii) one or more of the Defendants either

 resides in or maintains executive offices in this District; (iii) a substantial portion of the

 transactions and wrongs complained of herein occurred in this District; and (iv) Defendants have

 received substantial compensation in this District by doing business here and engaging in

 numerous activities that had an effect in this District.

          IV.    DUTIES OF THE INDIVIDUAL DEFENDANTS

          35.    By reason of their positions as officers and directors of the Company, each of the

 Individual Defendants owed and continues to owe Malibu and its stockholders fiduciary

 obligations of trust, loyalty, good faith, and due care and was/is required to use his/her utmost

 ability to control and manage Malibu in a fair, just, honest, and equitable manner. The Individual

 Defendants were/are required to act in furtherance of the best interests of Malibu and its

 stockholders to benefit all stockholders equally and not furtherance of their personal interest or



 {00658295;1 }                              – 10 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25            Page 10 of 58        PageID
                                             #: 10
 benefit.

           36.   Each director and officer of the Company owes to the Company and its

 shareholders the fiduciary duty to exercise good faith and diligence in the administration of the

 affairs of the Company and in the use and preservation of its property and assets, as well as the

 highest obligations of fair dealing. In addition, as officers and/or directors of a publicly held

 company, the Individual Defendants had a duty to promptly disseminate accurate and truthful

 information regarding the Company’s operations, finances, financial condition, and present and

 future business prospects so that the market price of the Company’s stock would be based on

 truthful and accurate information.

           37.   The Individual Defendants, because of their positions of control and authority as

 directors and/or officers of Malibu, were able to, and did, directly and/or indirectly, exercise

 control over the wrongful acts complained of herein. Because of their executive and/or

 directorial positions with Malibu each of the Individual Defendants had knowledge of material,

 nonpublic information regarding the Company. In addition, as officers and/or directors of a

 publicly held company the Individual Defendants had a duty to promptly disseminate accurate

 and truthful information regarding the Company’s business practices, operations, financials,

 financial prospects, compliance policies, and internal controls so that the market price of the

 Company’s stock would be based on truthful and accurate information.

           38.   To discharge their duties, the Individual Defendants were/are required to exercise

 reasonable and prudent supervision over the management, policies, practices, and controls of the

 financial affairs of the Company. The Individual Defendants were required to, among other

 things:

           a.    Ensure that the Company complied with its legal obligations and requirements—



 {00658295;1 }                              – 11 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25          Page 11 of 58      PageID
                                             #: 11
 including requirements involving the filing of accurate financial and operational information

 with the SEC—and refrain from engaging in insider trading and other deceptive conduct;

          b.     Ensure that the Company was operated in a diligent, honest, and prudent manner

 in accordance with the laws and regulations of Delaware and the U.S. pursuant to the Company’s

 own Code of Conduct (the “Code of Conduct”);

          c.     Conduct the affairs of the Company in compliance with all applicable laws, rules,

 and regulations to make it possible to provide the highest quality performance of its business,

 avoid wasting the Company’s assets, and maximize the value of the Company’s stock;

          d.     Remain informed as to how Malibu conducted its operations, and, upon receipt of

 notice or information of imprudent or unsound conditions or practices, make a reasonable inquiry

 in connection therewith, and take steps to correct such conditions or practices and make such

 disclosures as necessary to comply with applicable laws;

          e.     Establish and maintain systematic and accurate records and reports of the business

 and internal affairs of Malibu, as well as procedures for reporting said reports and records to the

 Board, and periodically investigate, or cause independent investigation to be made of, said

 reports and records;

          f.     Maintain and implement and adequately functioning system of internal, legal,

 financial, and management controls such that Malibu’s operations comply with all applicable

 laws and that the Company’s financial statements and regulatory filings filed with the SEC and

 disseminated to the public and Company’s shareholders are accurate;

          g.     Exercise reasonable control and supervision over the public statements made by

 the Company’s officers and employees and any other reports of information that the Company

 was required by law to disseminate;



 {00658295;1 }                             – 12 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 12 of 58      PageID
                                            #: 12
          h.        Examine and evaluate any reports of examination, audits, or other information

 concerning the financial affairs of the Company and to make full and accurate disclosure of all

 material facts concerning, inter alia, each of the subject and duties set forth above; and

          i.        Truthfully and accurately guide investors and analysts as to the business

 operations of the Company at any given time.

          39.       The Individual Defendants, because of their advisory, executive, managerial, and

 directorial positions of control and authority, were able to and did, directly or indirectly, exercise

 control over the wrongful acts complained of herein and the content of the various public

 statements issued by Malibu.

          40.       At all times relevant hereto, the Individual Defendants were the agents of each

 other and of Malibu and were at all times acting within the course scope of such agency.

                                   THE COMPANY’S CODE OF CONDUCT

          41.       The Individual Defendants, as officers and/or directors of Malibu, were bound by

 the Company’s Code of Conduct, which stated the following:

          We will uphold the highest professional standards in all global business
          operations. We expect every director, officer and employee to read and
          understand the Code and its application to the performance of his or her business
          responsibilities. Please remember that you should consider not only your own
          conduct but also that of your immediate family members, your significant other or
          other persons who live in your household (referred to in the Code as “family
          members”). Likewise, the ethics of our suppliers, service providers and business
          partners is of utmost importance. We expect those with whom we do business to
          have, and follow, a similar code of ethical conduct. This Code requires
          unequivocally:

          -      Compliance with all applicable governmental laws, rules and regulations
                 wherever Malibu operates;
          -      Honest and ethical conduct, including the ethical handling of actual or
                 apparent conflicts of interest between personal and professional relationships,
                 and the appropriate self-disclosure to Malibu of any material transaction or
                 relationship that reasonably could be expected to give rise to such a conflict;
          -      Full, fair, accurate, timely and understandable reporting in Malibu’s books


 {00658295;1 }                                 – 13 –
Case 3:25-cv-00142-TAV-DCP               Document 1 Filed 04/08/25           Page 13 of 58         PageID
                                                #: 13
                 and records and in all reports and documents that Malibu files with, or submits
                 to, our external investors, accountants and auditors and in other public
                 communications made by Malibu;
          -      Prompt internal reporting of violations of this Code or of any law affecting
                 Malibu’s business; and - Accountability for failures to this Code

          While we are all obligated to follow this Code and are responsible and
          accountable for our own conduct, Malibu expects our leaders to set the example -
          to be in every respect a model. They must ensure that those who report to them
          have sufficient information to comply with law, regulation and policy, as well as
          the resources to resolve ethical dilemmas. They must foster and maintain a culture
          within Malibu that promotes the highest standards of ethics and compliance. We
          must never sacrifice ethical behavior and legal compliance in the pursuit of
          business objectives. Everyone is responsible and accountable for promptly
          reporting any potential violations of this Code or any law or regulation. We must
          do more than follow the letter of the law – we must do the right thing. Above and
          beyond strict legal compliance, each director, officer and employee is expected to
          observe high standards of business and personal ethics in the discharge of their
          assigned duties and responsibilities. This requires the practice of fair dealing,
          honesty and integrity by each director, officer and employee in every aspect of
          dealing with other Malibu employees, the public, the business community,
          stockholders, customers, suppliers, competitors and governmental and regulatory
          authorities.

          42.       The “Fair Dealing” section of the Code of Conduct states the following:

          We strive to outperform our competition fairly and honestly. Advantages over our
          competitors are to be obtained through superior performance of our products and
          services, not through unethical or illegal business practices. Statements regarding
          Malibu’s services must not be untrue, misleading, deceptive or fraudulent.
          Acquiring proprietary information from others through improper means,
          possessing trade secret information that was improperly obtained, or inducing
          improper disclosure of confidential information from past or present employees of
          other companies is prohibited, even if motivated by an intention to advance our
          interests. If information is obtained by mistake that may constitute a trade secret
          or other confidential information of another business, or if you have any questions
          about the legality of proposed information gathering, you must consult your
          supervisor or the Compliance Officer.

          You are expected to deal fairly with our customers, suppliers, employees and
          anyone else with whom you have contact in the course of performing your job. Be
          aware that the Federal Trade Commission Act provides that “unfair methods of
          competition in commerce, and unfair or deceptive acts or practices in commerce,
          are declared unlawful.” It is a violation of the Act to engage in deceptive, unfair
          or unethical practices and to make misrepresentations in connection with sales
          activities.


 {00658295;1 }                                 – 14 –
Case 3:25-cv-00142-TAV-DCP               Document 1 Filed 04/08/25           Page 14 of 58         PageID
                                                #: 14
          Employees involved in procurement have a special responsibility to adhere to
          principles of fair competition in the purchase of products and services by selecting
          suppliers based exclusively on normal commercial considerations, such as quality,
          cost, availability, service and reputation, and not on the receipt of special favors.

          43.       The “Insider Trading” section of the Code of Conduct states the following:

          Directors, officers and employees who have access to confidential (or “inside”)
          information are not permitted to use or share that information for stock trading
          purposes or for any other purpose except to conduct our business. All non-public
          information about the Company or about companies with which we do business is
          considered confidential information. To use material non-public information in
          connection with buying or selling securities, including “tipping” others who might
          make an investment decision on the basis of this information, is not only
          unethical, it is illegal. Directors, officers and employees must exercise the utmost
          care when handling material inside information. Please refer to the Company’s
          Insider Trading Policy for more detailed information.

          44.       The “Administration – Compliance Program and Compliance Officer” section of

 the Code of Conduct states the following:

          To facilitate compliance with this Code, we have implemented a compliance
          program (“Compliance Program”) discussed below. We have established the
          position of the Compliance Officer to oversee this program. The Compliance
          Officer is a person to whom you can address any questions or concerns. The
          Compliance Officer for the purposes of this Code is the Company’s Chief Human
          Resources Officer. In addition to fielding questions or concerns with respect to
          potential violations of this Code, the Compliance Officer is responsible for:

                 • investigating possible violations of this Code;
                 • training new employees in Code policies;
                 • conducting annual training sessions for certain employees to refresh such
                 employees’ familiarity with this Code;
                 • updating this Code as needed and alerting employees to any updates, with
                 appropriate approval of the Committee to reflect changes in the law, the
                 Company operations and in recognized best practices, and to reflect the
                 Company experience; and otherwise promoting an atmosphere of responsible
                 and ethical conduct.

                 Your most immediate resource for any matter related to this Code is your supervisor.
                 Your supervisor may have the information you need or may be able to refer the
                 question to another appropriate source. There may, however, be times when you
                 prefer not to go to your supervisor. In these instances, you should feel free to discuss
                 your concern with the Compliance Officer. If you are uncomfortable speaking with


 {00658295;1 }                                 – 15 –
Case 3:25-cv-00142-TAV-DCP               Document 1 Filed 04/08/25            Page 15 of 58       PageID
                                                #: 15
                 the Compliance Officer, please contact the Company’s Chief Financial Officer. Of
                 course, if your concern involves potential misconduct by another person and relates to
                 questionable accounting or auditing matters, you may report that violation as set forth
                 in such related policy. You may e-mail anonymously if you prefer, although the
                 Compliance Officer may be unable to obtain follow-up details from you that may be
                 necessary to investigate the matter. Whether you identify yourself or remain
                 anonymous, your email contact will be kept strictly confidential to the extent
                 reasonably possible within the objectives of this Code.

          The Compliance Program will have the following minimum features:

                    A.      All current directors, officers and employees and new hires and
                            appointments will receive and will be required to acknowledge
                            receipt and understanding of this Code, to include all policies
                            referred herein.
                    B.      While overall managerial oversight responsibility for the
                            Compliance Program will reside in the executive officers of
                            Malibu, Malibu will delegate day-to-day responsibility for the
                            operation of the Compliance Program to the Compliance Officer.
                    C.      The Compliance Officer will in the first instance be responsible for
                            ensuring compliance with the Code by, among other things, (i)
                            timely documenting, reporting and investigating suspected material
                            violations of the Code that come to their attention; (ii) ensuring the
                            delivery of Code training and (iii) and making recommendations as
                            to the implementation of any modifications and enhancements to
                            any Malibu policy, practice or procedure, including the Code, and
                            to the Compliance Program.
                    D.      All employees are expected to cooperate fully in internal
                            investigations of misconduct. Neither the reporting employee nor
                            his or her supervisor may conduct any preliminary investigation,
                            unless authorized to do so by the Compliance Officer. The Board,
                            or the Audit Committee, will assess any findings from the
                            investigation the Compliance Officer. The Board, or the Audit
                            Committee, will assess any findings from the investigation changes
                            that need to be made.
                    E.      Malibu fosters a free and open atmosphere that allows and
                            encourages directors, officers, employees and, agents and others to
                            express work-related concerns about ethical issues and/or to report
                            violations or suspected violations of laws, regulations and Malibu
                            policy. Directors, officers and employees are not only encouraged,
                            but are required, to report any violations of law or of this Code to
                            his or her supervisor or to the Compliance Officer, as appropriate.
                            If an employee believes his or her supervisor has not taken
                            appropriate action, the employee should contact the Compliance
                            Officer directly.
                    F.      Timely periodic reports will be made to the Audit Committee


 {00658295;1 }                                 – 16 –
Case 3:25-cv-00142-TAV-DCP               Document 1 Filed 04/08/25             Page 16 of 58         PageID
                                                #: 16
                         about the activities of the Compliance Officer, as well as regarding
                         material violations of the Code.
                 G.      If any investigation indicates that a director, officer or employee
                         has violated this Code or any law or regulation concerning the
                         business of Malibu, such person will be held accountable and may
                         face disciplinary measures up to, and including, termination of
                         employment and, in appropriate cases, civil action or referral for
                         criminal prosecution. Appropriate action may also be taken to deter
                         any future Code violations.
                 H.      Action by family members also may potentially result in ethical
                         issues to the extent that they involve Malibu’s business. For
                         example, acceptance of inappropriate gifts by a family member
                         from one of our suppliers could create a conflict of interest and
                         result in a Code violation attributable to you. Employees should
                         consider not only their own conduct, but also that of their family
                         members.
                 I.      To encourage timely reporting, an employee hotline has been
                         established and is monitored by the Compliance Officer. All
                         employees will be advised of the existence of the employee hotline
                         and their right to report suspected violations of law, and of this
                         Code, even on an anonymous basis. The number of the employee
                         hotline is (855) 400-6002. Whether the employee identifies himself
                         or herself or remains anonymous, his or her call with the hotline
                         will be kept strictly confidential to the extent reasonably possible
                         within the objectives of the Code.

          If you encounter a situation or are considering a course of action and its
          appropriateness is unclear, discuss the matter promptly with your supervisor or
          the Compliance Officer; even the appearance of impropriety can be very
          damaging and should be avoided.

          Malibu will not tolerate retaliation for reports made in good faith and provides
          full protection for those reporting violations. Anyone who retaliates or attempts to
          retaliate against a reporting employee will be subject to discipline, up to and
          including termination. Directors, officers and employees are expected to
          cooperate in internal investigations of misconduct. Any director, officer and
          employee may submit a good faith concern regarding questionable accounting or
          auditing matters without fear of dismissal or retaliation of any kind.

                             THE AUDIT COMMITTEE CHARTER

          45.    In addition to these duties set forth in the Code of Conduct, defendants Buch,

 Chhina, Stokely, and Taylor (the “Audit Committee Defendants”), who served on the Audit

 Committee during the Relevant Period, owed specific duties to Malibu under the Malibu Boats,


 {00658295;1 }                              – 17 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25            Page 17 of 58         PageID
                                             #: 17
 Inc. Charter of the Audit Committee of the Board of Directors (the “Audit Charter”).

 Specifically, the Audit Charter described the purpose of the Audit Committee as follows:

          The Committee is appointed by the Board to assist the Board in, among other
          things, overseeing the accounting and financial reporting processes and the audits
          of the financial statements of the Company and its financial risk management
          policies and controls and assisting the Board in fulfilling its responsibility for
          oversight of the quality and integrity of the accounting, auditing, internal control
          and financial reporting practices of the Company. In addition, the Committee is
          appointed by the Board to assist the Board in overseeing the Company’s risk
          management with respect to data privacy, cybersecurity and information
          technology risks.

          46.    The “Responsibilities and Authority” section of the Audit Charter, states, in

 relevant part, that the Audit Committee shall have the following responsibilities, among others:

          Annual and Quarterly Results. Review the Company’s audited financial
          statements and quarterly financial results, including the related disclosures
          required by generally accepted accounting principles in the United States
          (“GAAP”) and the Company’s disclosures under “Management’s Discussion and
          Analysis of Financial Condition and Results of Operations” and discuss them with
          management and the independent auditors. These discussions shall include any
          significant changes to the Company’s accounting principles, the matters required
          to be discussed under the requirements of the PCAOB, the consideration of the
          quality of the Company’s accounting principles as applied in its financial
          reporting, including a review of particularly sensitive accounting estimates,
          reserves and accruals, judgmental areas, audit adjustments (whether or not
          recorded), the effect of regulatory and accounting initiatives as well as off-balance
          sheet structures on the financial statements of the Company, the Company’s
          implementation process for any new accounting standards and other such
          inquiries as the Committee or the independent auditors shall deem appropriate as
          required to be communicated by the independent auditors to the Committee with
          respect to the review or audit of the Company’s financial statements pursuant to
          applicable auditing standards adopted by the PCAOB. Based on such review, the
          Committee shall make its recommendation to the Board as to the inclusion of the
          Company’s audited financial statements in the Company’s Annual Report on
          Form 10-K. The Committee shall review and resolve any disagreements among
          management and the independent auditors or the internal auditing department in
          connection with the preparation of the audited financial statements or the
          quarterly financial statements.

          Proxy Report. Issue annually a report of the Committee to be included in the
          Company’s proxy statement as required by the rules and regulations of the SEC.



 {00658295;1 }                               – 18 –
Case 3:25-cv-00142-TAV-DCP             Document 1 Filed 04/08/25            Page 18 of 58         PageID
                                              #: 18
                                                ***
          Press Releases. Review and discuss with management, prior to release, the
          Company’s earnings press releases, including the use of “pro forma” or
          “adjusted” non-GAAP financial information, as well as financial information and
          earnings guidance provided to analysts or rating agencies.

                                                ***
          Other Financial Disclosures. Discuss with a representative of management and
          the independent auditors: (i) the interim financial information contained in the
          Company’s Quarterly Report on Form 10-Q prior to its filing; (ii) the earnings
          announcement prior to its release (if practicable); and (iii) the results of the
          review of such information by the independent auditors. These discussions may
          be held with the Committee as a whole or with the Chair in person or by
          telephone.

                                                  ***
          Internal Control Over Financial Reporting. Discuss and review with
          management, the internal auditors and the independent auditors, in connection
          with each annual or quarterly report filed with the SEC, the quality and
          effectiveness of and compliance with the Company’s internal control over
          financial reporting, whether prior recommendations concerning internal controls
          made by the independent auditors have been implemented by management, and
          the adequacy of any disclosures about changes in internal control over financial
          reporting. This should include a discussion of any significant deficiencies or
          material weaknesses in the design or operation of internal control over financial
          reporting and any fraud, whether or not material, that includes management or
          other employees who have a significant role in the Company’s internal control
          over financial reporting. On an annual basis, obtain a written report from
          management that describes management’s own assessment of the effectiveness of
          such internal control over financial reporting and review the independent auditors’
          attestation of management’s report prior to the filing of the Company’s annual
          report on Form 10¬K.
                                                  ***
          Review of Financial and Accounting Practices. Review with the independent
          auditors and management the extent to which changes or improvements in
          financial or accounting practices suggested by the auditors, as approved by the
          Committee, have been implemented. This review should be conducted at an
          appropriate time subsequent to implementation of changes or improvements, as
          decided by the Committee.
                                                  ***
          Fraud and Regulatory Noncompliance. Review all reports concerning any fraud
          or significant regulatory noncompliance that occur at the Company. This review
          should include, at a minimum, consideration of the Company’s internal control
          over financial reporting that should be strengthened to reduce the risk of a similar
          event in the future and the impact on previously issued financial statements and
          reports filed with governmental authorities.


 {00658295;1 }                              – 19 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25            Page 19 of 58         PageID
                                             #: 19
          Significant Judgments. Meet separately with each of management and the
          independent auditors regarding any significant judgments made in management’s
          preparation of the Company’s financial statements and the view of each as to
          appropriateness of such judgments, and review analyses prepared by management
          or the independent auditors setting forth any significant financial reporting issues
          and judgments made in connection with the preparation of the financial
          statements, including with respect to alternative treatments of financial
          information within GAAP that have been discussed with management, the
          ramifications of the use of such alternative disclosures and treatments, and the
          treatment preferred by the independent auditors.

          Proxy Disclosures. Cooperate with management, the Board and the Company’s
          legal counsel to ensure that the Company discloses in its proxy statement for its
          annual meeting of stockholders whether the Committee members are independent
          as described in this Charter and as defined by the applicable rules and regulations
          of the SEC and the applicable Nasdaq rules, as well as certain information
          regarding any director of the Committee who is not independent. Risk Assessment
          and Management. Discuss with management and the independent and internal
          auditors the Company’s major financial risk exposure and the steps management
          and the independent and internal auditors have taken to monitor and control such
          exposure, including the Company’s risk assessment and risk management
          policies.
                                                 ***
          Other Matters. Oversee and consider any other audit or financial statement
          related matters that may arise from time to time and develop appropriate
          recommendations for the Board.

          V.     FACTUAL BACKGROUND

          A.     Company Overview

          47.    Malibu, a Delaware corporation headquartered in Loudon, Tennessee, designs,

 manufactures, and markets sport boats. The Company produces sport boats used for water sports

 including water skiing, wakeboarding, and wake surfing, as well as for general recreational

 boating use.

          48.    Malibu’s products belong to three separate business segments – Malibu, Saltwater

 Fishing, and Cobalt. The largest of the three segments is the Malibu segment (the “Malibu

 Segment”), comprised of freshwater performance sport boats, which accounted for more than



 {00658295;1 }                              – 20 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25            Page 20 of 58         PageID
                                             #: 20
 half of the Company’s total revenue. Indeed, throughout the Relevant Period, the Individual

 Defendants boasted of Malibu holding the “number one market share position in the United

 States for performance sport boats with our [Malibu Segment].” The Malibu Segment sells under

 two brand names: Malibu, which is the Company’s flagship brand and offers premium sport

 boats with luxury features (“Malibu Brand”); and Axis, which is marketed as a more affordable

 line of performance sport boats and targets a younger, entry-level boat owner demographic.

          49.    The Company sells boats via a network of independent dealers, including dealers

 operating under the common control of Tommy’s. In FY 2023, sales to Tommy’s dealers

 represented approximately 23.3% of consolidated sales for Malibu brand boats and

 approximately 10.7% of the Company’s consolidated net sales.

          50.    According to the Company’s SEC filings, Malibu recognizes revenue when

 “control of promised goods (boats, parts, or other) is transferred to the customer.” As “[d]ealers

 generally have no right to return unsold boats,” Malibu recognizes revenue upon the delivery of

 the boats to the dealer, regardless of whether boats are ultimately sold to an end user.

          B.     The Tommy’s Action Reveals the Individual Defendants’ Scheme

          51.    On April 10, 2024, Tommy’s and its various subsidiaries filed the Tommy’s

 Action against the Company in the Eastern District of Tennessee, accusing Malibu of breach of

 contract, unjust enrichment, fraud, and negligent misrepresentation, among other claims. The

 Tommy’s Action alleged that defendant Springer and Malibu’s management knew that the

 Company’s 2023 sales would be 50% lower than 2022 sales and decided to take steps to shift the

 anticipated loss to Tommy’s dealerships.

          52.    First, defendant Springer caused Malibu to coerce Tommy’s into increasing its

 available floor plan financing from $50 million to $160 million by telling Tommy’s that it should



 {00658295;1 }                             – 21 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25             Page 21 of 58    PageID
                                            #: 21
 maintain 25 weeks of inventory in stock at the turn of the model year based on Malibu’s market

 analysis. As detailed in Tommy’s sworn, verified litigation filings, including a sworn declaration

 of Tommy’s President and owner, Matthew Borisch (“Borisch”), filed in federal bankruptcy

 court, the defendants to the Tommy’s Action proceeded to “pump Tommy’s full of boats”

 despite having “full knowledge” that Tommy’s did not want or need the additional inventory, as

 “the market analysis did not warrant such inventory levels.”

          53.    The Tommy’s Action alleges that in July 2022, defendants Springer and Wilson

 invited Borisch (who was based in Michigan) and his director of operations, Ed Wells, to a lunch

 meeting in Tennessee. During this meeting, defendants Springer and Wilson “began pressuring

 Mr. Borisch to commit to increasing [Tommy’s] existing floor plan credit capacity” so that

 Tommy’s could purchase more boats from Malibu. When “Mr. Borisch pushed back, both in the

 initial meeting [in July 2022] and over the months that followed, Malibu made clear that its

 request was not optional, and that Mr. Borisch would lose his status as a Malibu dealer if he did

 not comply.” Additionally, Tommy’s had earned significant financial incentives during FY 2022,

 which Malibu had not yet paid. These incentives were purposefully withheld as further leverage

 to push Tommy’s into increasing its floor plan financing capacity—while continuing to make

 clear that the Tommy’s Action defendants “would retaliate if [Tommy’s] did not comply with

 their demands.”

          54.    Then, according to the Tommy’s Action, in late 2022—at the same time that

 industry sources were expecting boat demand to dramatically decline—the Officer Defendants

 suddenly told Tommy’s that it was required to have a minimum of 25 weeks of Malibu Segment

 inventory on hand, purportedly based on Malibu’s own internal retail demand forecasts for FY

 2023. At the time, Tommy’s had only used approximately $30 million of its $50 million credit



 {00658295;1 }                            – 22 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25            Page 22 of 58      PageID
                                           #: 22
 facility for floor plan financing with its lender, Fifth Third Bank, with $20 million of additional

 capacity remaining. To have 25 weeks of inventory on hand, Tommy’s would be forced to

 increase its current floor plan capacity by more than a factor of five. Borisch detailed in court

 filings in the Tommy’s Action how, to ensure Tommy’s would comply, on or about “December

 16, 2022, [Defendant] Wilson called Mr. Borisch’s primary point of contact with [Fifth Third]

 bank, Rick Budinger, and demanded that the bank immediately fund the boats that Malibu had

 shipped or else ‘bad things would happen.’” Facing significant financial pressure due to the

 Officer Defendants’ ongoing threats and manipulations, Tommy’s agreed to Malibu’s demands,

 extending its credit facility with Fifth Third Bank by 70%, from $50 million to $85 million.

          55.    Malibu filled Tommy’s showrooms with Malibu’s most expensive, highest

 margin boats, which took the longest periods of time to sell. Tommy’s had requested that Malibu

 send it Malibu’s lower price point boats, which historically sold at a quicker pace.

          56.    The Individual Defendants caused Malibu to snub the request because the

 Company recognizes a sale when the dealer takes delivery of the boat, regardless of whether it

 has been sold to the end user. As a result, this scheme, known as “channel-stuffing”, enabled the

 Company to report that it experienced strong wholesale demand and sales, even as sales to the

 end user declined.

          57.    This channel-stuffing scheme through the beholden Tommy’s took on even more

 urgency in early 2023. At that time, Malibu’s largest dealer, OneWater Marine, Inc.

 (“OneWater”), unexpectedly cancelled a significant amount of Malibu boat orders for the year,

 citing its own assessment of a sharp downturn in demand for Malibu boats across its roughly 100

 dealerships.

          58.    Unlike Tommy’s, OneWater was not reliant on Malibu, as it was a much larger



 {00658295;1 }                             – 23 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 23 of 58      PageID
                                            #: 23
 company that sold boats from a wide variety of manufacturers. OneWater’s CEO delivered the

 news of its cancellations directly to defendant Springer in a personal meeting in early 2023. With

 OneWater accounting for as much as 17% of Malibu’s sales, the cancellations were disastrous

 for Malibu’s business.

          59.    Indeed, CW 1,2 a former OneWater Senior Sales Executive,3 stated that OneWater

 became aware of the market downturn beginning in early 2023. OneWater had forecasted that

 there would be a continual downturn in Malibu retail boat sales as a result, causing its CEO,

 Austin Singleton (“Singleton”), to hold a meeting with defendant Springer in early 2023. During

 this meeting, Singleton cancelled a significant amount of OneWater’s Malibu boat orders for FY

 2023. As CW 1 noted, OneWater cancelled these orders because “the COVID years were done.”

          60.    A former Malibu employee likewise confirmed that Malibu’s own internal market

 data showed that, beginning in early 2023, there was a sharp drop-off in retail demand for

 Malibu boats. CW 24 explained that his work included collecting retail boat registration and

 customer survey data for Malibu’s boats that had been sold to consumers from a program called

 Qualtrics. He would then create reports on trends within that data which he provided to his


 2
        The operative complaint in the Securities Class Action (the “Securities Complaint”) is
 based on confidential accounts from witnesses described therein as current or former employees
 of Malibu, OneWater, and Tommy’s, noted as Confidential Witnesses (“CWs”) and identified by
 number (CW 1, CW 2, etc.). The Securities Complaint notes that the CWs are all referred to in
 the masculine form to maintain their confidentiality.
 3
      According to the Securities Complaint, CW 1 worked as a Senior Sales Executive for
 OneWater’s Georgia dealership from June 2020 until June 2024.
 4
        According to the Securities Complaint, CW 2 worked as a former Data and Analytics
 Specialist within the Company’s Market Research department from December 2021 through
 January 2024. As a Data and Analytics Specialist during this period, CW 2 reported directly to
 Malibu’s Digital Marketing Manager, Kendall Getley, who in turn, reported to the Vice President
 of Marketing, Doreen Bayliff.



 {00658295;1 }                            – 24 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25            Page 24 of 58      PageID
                                           #: 24
 superiors, as well as to Malibu’s CEO and its Board, on a quarterly, monthly, and sometimes

 even weekly basis. CW 2 utilized this data to identify how many Malibu boats had been sold to

 retail consumers in any given period. Since this data provided insight into retail demand levels,

 CW 2 also provided his reports to Malibu’s sales department to assist them in their forecasting

 efforts.

            61.   CW 2 recalled that he noticed a big drop-off in boat registrations beginning

 around January 2023 and continuing throughout calendar year 2023, up until he left the

 Company in January 2024. Given that a decline in boat registrations pointed to declining retail

 demand, CW 2 created reports documenting Malibu’s dramatically declining boat registration

 data and distributed them internally. Regarding these reports, CW 2 explained: “There was a

 huge concern with the directors and the sales managers. They had a lot of questions about what I

 was presenting to them.” And “whenever I was asked about this the same people would ask the

 sales department and be told that sales were [indeed] down.”

            62.   In early 2023, the Individual Defendants caused Malibu to pressure Tommy’s to

 take on even more floor plan capacity, despite the fact that Tommy’s lender, Fifth Third Bank,

 was unable to finance additional sales because Tommy’s had already reached its credit limit.

 Moreover, in March 2023, the Officer Defendants introduced Tommy’s to a new lender, M&T

 Bank, that was willing to provide Tommy’s with $110 million in floor plan capacity with a $20

 million overlimit—amounting to $130 million total.

            63.   Malibu typically entered into agreements known as “repurchase agreements” with

 its dealers’ lenders. These industry standard agreements provided that Malibu would repurchase

 unsold inventory from a dealer in the event the dealer defaulted on repaying its lender for the

 boats. Malibu did not enter a repurchase agreement with M&T with respect to Tommy’s,



 {00658295;1 }                             – 25 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25          Page 25 of 58      PageID
                                            #: 25
 standard in Malibu’s financing contracts pursuant to its own public filings, and had in fact been

 present in all of Tommy’s prior financing arrangements. The Individual Defendants caused

 Malibu to take these actions to avoid any risk of blowback from the channel-stuffing scheme

 despite repurchase agreements being an industry standard.

          64.    The Individual Defendants further insisted that the majority of the excess

 inventory being pushed on Tommy’s be comprised primarily of the Company’s highest margin

 Malibu Brand boats, rather than the more even split of Malibu Brand and lower-priced Axis

 brand boats carried by Tommy’s historically. The only purpose of this decision was the short-

 term increase in Malibu’s profits, as Tommy’s had requested a greater share of the lower-priced

 Axis boats due to the economic downturn, but Malibu ignored Tommy’s requests and delivered

 mostly high-priced Malibu Brand boats instead. When Tommy’s attempted to push back on the

 Officer Defendants’ demands to take this excess inventory, the Officer Defendants continued to

 leverage the incentive payments owed to Tommy’s that had not yet been paid. Specifically,

 according to the Tommy’s Action, “[Malibu Director of Sales] Scott Davenport, acting on behalf

 of Malibu, assured Mr. Borisch that Malibu was honoring its agreement to pay the rebates and

 incentives, and pay for interest recovery, so long as [Tommy’s] continued to take on the

 inventory, as Malibu was demanding.”

          65.    These allegations were corroborated by CW 3,5 who recalled that Tommy’s


 5
          According to the Securities Complaint, CW 3 worked as a Sales Representative for
 Tommy’s Colorado dealership from June 2020 through November 2023 and reported directly for
 Cassidy Batchel, General Manager of Tommy’s Boats in Colorado. As a Sales Representative for
 Tommy’s, CW 3 had first-hand experience with the fluctuations in retail demand during and
 after the COVID-19 pandemic, and was responsible for reporting registration information
 concerning his boat sales to Malibu on a frequent and consistent basis. CW 3 left Tommy’s
 voluntarily in November 2023 because selling boats was no longer as lucrative as it was when he
 first started working for Tommy’s in June 2020.



 {00658295;1 }                            – 26 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25           Page 26 of 58      PageID
                                           #: 26
 Colorado dealership suddenly and dramatically increased its lot size by 50% in the summer of

 2022 to accommodate large numbers of additional Malibu Segment boats that would soon be

 delivered. According to CW 3, Tommy’s Colorado had a lot that could store approximately 100

 boats in inventory which was adequate, but, in the summer of 2022, Tommy’s Colorado

 dealership then purchased another lot to increase its capacity to 150. As Borisch himself has

 stated, Tommy’s took these steps to expand its dealerships’ floor plan capacity due to the

 constant pressure and threats from Malibu and the Officer Defendants.

          66.    CW 3 also noted that his Colorado dealership generally ordered a 50-50 split of

 Malibu Brand boat and Axis brand boats each year, and Malibu would produce and ship boats to

 Tommy’s Colorado dealership according to that split. However, this changed when the

 dealership placed its boat orders in the fall of 2022 for boats to be shipped during fiscal year

 2023. Rather than fill the typical 50-50 order, Malibu instead produced and shipped a 75-25 split

 in favor of the higher-end Malibu Brand boats throughout fiscal year 2023.

          67.    Further, despite the positive public statements and unbeknownst to stockholders,

 by the summer of 2023, Tommy’s bloated inventory levels had begun to cause it to spiral into

 increasing financial distress. The Individual Defendants, however, continued to pressure

 Tommy’s to continue to take on increasing inventory that the Individual Defendants knew was

 not needed or wanted, and that the Individual Defendants knew there was no market for, as the

 retail demand market continued to deteriorate.

          68.    Despite the Individual Defendants’ public claims of continuing robust demand for

 Malibu’s “feature-rich boats,” as of June 12, 2023, Tommy’s still had 800 of the 1,190 Malibu

 Segment boats it had purchased in 2023 remaining in its inventory, or nearly 70% of the previous

 year’s boats—a fact the Officer Defendants were well aware of given that they had near real time



 {00658295;1 }                             – 27 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25           Page 27 of 58     PageID
                                            #: 27
 access to Tommy’s retail sales and inventory levels, and received updates on those metrics on a

 weekly basis. Specifically, CW 3 was involved in entering sales data in Malibu’s customer

 relationship management (“CRM”) portal in order to “register the sale” in Malibu’s sales

 tracking system, which Malibu used to determine whether Tommy’s was entitled to financial

 incentives under the dealership agreements.

          69.    With this stagnant inventory with Tommy’s, the Individual Defendants still

 demanded that Tommy’s commit to ordering 1,160 Malibu Segment boats in FY 2024 before

 Malibu would agree to execute new dealership agreements with Tommy’s for the upcoming year.

 Despite 800 boats of excess inventory still on hand, and in the midst of declining retail demand

 and rising interest rates for carrying that inventory, Tommy’s countered with an offer to commit

 to ordering only 559 boats—approximately 50% fewer boats than the total number of Malibu

 boats Tommy’s had purchased during FY 2023—but the Officer Defendants refused to agree.

          70.    CW 3 stated that these facts were consistent with his experience at Tommy’s

 Colorado dealership during the same timeframe as retail sales had declined substantially during

 FY 2023 and the Colorado dealership still had between 25 and 50 Malibu boats in its inventory.

 According to CW 3, given all of the sales and inventory data Tommy’s was required to input into

 Malibu’s online portal, “there was no way Malibu did not know [Tommy’s] sales were slowing

 in real time.” Despite this, Malibu still pushed for Tommy’s Colorado dealership to order at least

 100 additional boats for FY 2024. Further, CW 3 recalled Tommy’s executive management tried

 to accommodate Malibu’s request even with the excess inventory so that Malibu would finally

 execute FY 2024 dealership agreements with Tommy’s. CW 3 further noted: “There seemed to

 be a sense of urgency in moving boats, but the number of boats [Malibu] was sending they [i.e.,

 the Colorado dealership] were not comfortable accepting.”



 {00658295;1 }                            – 28 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25            Page 28 of 58      PageID
                                           #: 28
          71.    Moreover, according to CW 3, at the same time, “many dealerships [other than

 Tommy’s] were holding off on placing and receiving model year 2024 orders” because

 “everyone [still] had 2022 and 2023 excess Malibu inventory.” CW 3 further noted that other

 Malibu authorized boat dealers, including Taylor’s Boats with locations in multiple states, in

 addition to “another Malibu dealership in Coeur d’Alene, Idaho,” also were pushing back on

 Malibu and holding off their Malibu boat orders.

          72.    In the summer of 2023, Tommy’s continued to relay to Malibu that it was unable

 to take on the 1,160 boats Malibu that it was demanding Tommy’s purchase due to declining

 demand and a lack of sales. Additionally, CW 3 noted that in June-July 2023, his personal

 number of Malibu Segment sales had gone from five boats per month down to only one or two

 boats per month. While Malibu eventually lowered its required commitment down to 605 boats,

 Tommy’s was already quickly “nearing danger with respect to [its] current inventory due to the

 unreasonable number of Malibu boats that Malibu had forced upon [Tommy’s]”—and “[b]y

 August 2023, [Tommy’s] dealerships were in a dire financial position.” In August 2023,

 Tommy’s sold a number of boats from its inventory, in an effort to cover its costs and avoid

 insolvency. Tommy’s made these sales without remitting the necessary portion of those sales

 proceeds to M&T Bank, a significant default event referred to in the marine industry as “sales

 out of trust,” or “SOT”—an event that had never previously occurred in Tommy’s entire 12-year

 relationship with Malibu.

          73.    According to the Securities Complaint, Tommy’s immediately notified Malibu of

 its SOT status, by no later than September 2, 2023. The next day, September 3, 2023, Tommy’s

 reached out to Malibu for assistance in right-sizing its overstocked inventories, and also sought

 payment of outstanding financial incentives and monetary advances from Malibu which



 {00658295;1 }                            – 29 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25           Page 29 of 58      PageID
                                           #: 29
 Tommy’s claimed it could use to cure its default with M&T. However, the Officer Defendants

 refused to pay any of the outstanding financial incentives, asserting that Tommy’s was not

 eligible to receive them. Malibu and defendant Springer further made clear to Tommy’s that

 Malibu would not enter into any repurchase agreement to buy back excess inventory due to

 Tommy’s worsening financial state.

          74.    According to the Securities Complaint, once Tommy’s reported its SOT status to

 Malibu, defendant Springer informed Tommy’s that it would not enter into any new dealership

 agreements with Tommy’s—meaning virtually no dealership agreements existed anymore

 between the parties. Indeed, nearly all of the prior dealership agreements for Tommy’s fifteen

 dealerships had already expired as of June 30, 2023. situation on Malibu’s business. Defendant

 Springer himself made clear that he fully understood the implications of Tommy’s dire financial

 situation on Malibu’s business. Indeed, on September 11, 2023, defendant Springer sent an email

 directly to Borisch, which stated: “Tommy’s is SOT, which is one of the worst situations that can

 arise. Until Tommy’s is in good standing with M&T, no dealer agreement can or will be signed.”

          75.    Despite the fact that the Individual Defendants knew full well that Tommy’s,

 Malibu’s single most important dealer, was rapidly approaching insolvency as a result of the

 channel stuffing scheme, the Individual Defendants did not disclose this material information to

 stockholders. Even with this knowledge, defendant Springer continued attempting to exploit

 Malibu’s leverage over Tommy’s, seeking Tommy’s to take on an additional 131 boats.

          76.    The Individual Defendants’ decision to dump higher priced and harder to sell

 models on Tommy’s made it nearly impossible for the distributor to hit its sales targets and

 saddled it with high interest debt. The Individual Defendants exacerbated Tommy’s problems

 when they caused Malibu to renege on making payments and refusing to repurchase the



 {00658295;1 }                            – 30 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25           Page 30 of 58      PageID
                                           #: 30
 inventory. According to the Tommy’s Action, three highly placed Malibu stakeholders told

 Borisch that defendant Springer intentionally pumped Tommy’s full of inventory in order to

 inflate Malibu’s sales and market share, according to allegations in the Tommy’s Action. They

 also reported that defendant Springer “would not turn the spigot off.” These principals further

 informed Borisch that the Company’s CFO left on “bad terms” and that “Jack is not going to

 last.” Despite these high-ranking executives at Malibu knowing that defendant Springer was

 engaging in accounting chicanery, they still took no steps to stop the scheme.

           77.   Even with the negative outlook for boat sales in 2023, the general sales decline in

 the industry, and Malibu’s actions towards Tommy’s, the Individual Defendants caused the

 Company to continue to tout positive sales performance and increased market share during the

 period.

           78.   Under the Individual Defendants’ direction, Malibu kept the “spigot” on and

 reported increased sales by dumping its excess inventory. The Individual Defendants made the

 situation even more grave by declining to enter into a repo agreement, which Malibu had done in

 prior years, despite insisting that Tommy’s increase its floor space.

           79.   On January 30, 2024 – only a few months after the Individual Defendants had

 repeatedly touted consumer demand for Malibu Segment boats and the Company’s focus on

 maintaining dealer health and proper inventory levels – the Company released poor financial

 results. Malibu reported that consolidated net sales had decreased 37.7% to $211 million, unit

 volume had decreased 43.7% to 1,373 units, net income had decreased 72% to $10 million, and

 Adjusted EBITDA had decreased 60% to $23 million. Malibu Segment sales were especially

 poor, having declined 51.7% versus the same quarter a year earlier to just $76.4 million—a far

 larger decline than Malibu’s other segments, which was especially striking given Defendants’



 {00658295;1 }                             – 31 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 31 of 58      PageID
                                            #: 31
 repeated reassurances that the Malibu Segment’s “premium buyers” were unimpacted by

 economic trends and would continue to carry Malibu’s sales through a downturn.

          80.    Further, the Individual Defendants also dramatically lowered Malibu’s full FY

 2024 guidance. Specifically, while three months earlier the Individual Defendants had forecasted

 for FY 2024 a “net sales decline percentage in the high teens to low twenties year-over-year and

 Adjusted EBITDA margin down 350-450 basis points year-over-year,” the Individual

 Defendants now gave guidance that nearly doubled those declines, forecasting a “net sales

 decline ranging from the mid-to-high thirties percentage, year-over-year, and Adjusted EBITDA

 margin down 800 to 900 basis points, year-over year.”

          81.    Significantly, during Malibu’s earnings conference call the same day, defendant

 Springer admitted that “channel inventories [were] higher than we, or our dealers would like to

 see”—and, specifically, that Malibu dealers had “around 5 weeks too much on hand inventory,”

 requiring Malibu to “take an aggressive approach” to lower production levels. Indeed, when an

 analyst asked why the “implied EBITDA margin” was lower than it had been in over a decade

 and what was the reason for the “magnitude of the change,” defendant Springer admitted that

 Malibu had been forced to “significantly” reduce its production due to too high inventory levels.

          82.    On this news, Malibu’s stock price fell nearly 20% in a single day—or $9.47 per

 share, from a close of $51.03 per share on January 29, 2024, to a close of $41.56 per share on

 January 30, 2024.

          83.    However, the Individual Defendants also assured stockholders that the

 Company’s slowdown was temporary and solely due to market forces, that the Company’s

 “premium” brands were well positioned to succeed even in a weaker boat market, and that the

 Company remained tightly focused on setting appropriate inventory levels. For example, during



 {00658295;1 }                            – 32 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25            Page 32 of 58      PageID
                                           #: 32
 the same January 30, 2024 earnings call, defendant Springer explained that the Company was

 “recalibrating to match wholesale production to retail demand,” was “very, very committed to

 reducing channel inventory to lower levels,” and further characterized its approach to inventory

 levels as “conservative.” And in direct response to analyst questions about inventory levels,

 defendant Springer asserted that Malibu was “being very responsible with channel inventories

 and that’s what we’re hearing [from] our dealers.”

          84.    Defendant Springer also touted “positive signs following our year-end sales” with

 “Malibu Axis performing better than we had expected,” and with “[a]ll brands [] at the higher

 end of sales compared to the previous 5 years” at the recent New York boat show. Indeed,

 defendant Springer continued to claim that Malibu was seeing strong demand in the “premium

 segment,” i.e., from buyers who were financially well off and thus able to pay cash and

 unaffected by interest rates—explaining that “[o]ur customer segment that has remained strong

 [is] the premium segment, cash buyers who are looking for the larger, [feature] rich premium

 boat

          85.    By late February 2024, Tommy’s could no longer manage the ongoing financial

 burden of its bloated inventories, and Malibu could thus no longer benefit from the Officer

 Defendants’ scheme. Accordingly, on February 26, 2024, defendant Springer notified Tommy’s

 that Malibu would not enter into dealership agreements with Tommy’s for FY 2024. The next

 day, on February 27, 2024, Tommy’s was forced into default on its financing agreement with

 M&T Bank—owing amounts in excess of $110 million from its coerced purchases of excess

 Malibu Segment inventory.

          86.    Despite these developments, even as late as March 5, 2024, defendant Springer

 emphasized how closely Malibu was supposedly monitoring its dealer network, without making



 {00658295;1 }                             – 33 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25          Page 33 of 58      PageID
                                            #: 33
 any mention of the fact that Tommy’s, its second largest dealer and largest Malibu Segment

 dealer, no longer had dealership agreements in place or credit available to purchase Malibu

 boats. Specifically, at a Raymond James investor conference that day, defendant Springer

 emphasized that “[w]e’re talking about dealers that may be stressed or somewhat, but at the same

 time we’re following that. We want to know what the dealer health is and we actually have a

 report card on that.”

          87.    On April 10, 2024, Tommy’s filed the Tommy’s Action against Malibu and its

 subsidiaries in the Eastern District of Tennessee alleging that Malibu “breached its obligations

 under dealership agreements with Tommy’s Boats, quantum meruit, unjust enrichment,

 promissory estoppel and intentional and negligent misrepresentations relating to the parties’

 commercial relationship.” Significantly, the complaint alleged that Malibu had “engaged in an

 elaborate scheme to over manufacture and pump nearly $100 million of its highest priced,

 highest margin, slow moving boat inventory into fifteen (15) Tommy’s dealerships … in order to

 artificially inflate Malibu’s sales performance, artificially claim increased market share in the

 industry and artificially inflate its stock value during an obvious and known downturn in the

 recreational power boat industry.” It also revealed that defendant Springer had directly enacted

 and overseen the scheme—and that defendant Springer’s abrupt departure was likely directly

 linked to his involvement in the scheme.

          88.    The filing of the Tommy’s Action finally forced the Individual Defendants to

 make a disclosure. The following day, on April 11, 2024 after market close, the Individual

 Defendants caused Malibu to file a Current Report on Form 8-K with the SEC revealing the

 filing of the Tommy’s Action. The Form 8-K further revealed, for the first time, that the

 Company had not only terminated its relationship with Tommy’s—the largest dealer of its



 {00658295;1 }                            – 34 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25           Page 34 of 58      PageID
                                           #: 34
 Malibu Segment brands, accounting for more than 20% of those sales the prior fiscal year—but

 admitted that the Company needed to find, and was actively seeking, replacement dealers in

 order to avoid what the Individual Defendants called “marketplace disruption.”

          89.    Further, the Form 8-K noted that “[t]he Company does not currently have

 dealership agreements in effect with Tommy’s Boats,” and that “[t]he Company is actively

 engaged with its dealer network to mitigate any marketplace disruption and to provide a strong

 dealer partner in each of the Company’s markets served by Tommy’s Boats.” On this news, the

 Company’s stock price fell by $3.34, or 8%, from a close of $41.82 per share on April 11, 2024

 to close at $38.48 per share on April 12, 2024.

          90.    Raymond James issued a report before market open on April 12, 2024

 summarizing that the Tommy’s Action had alleged that Malibu and defendant Springer had

 enacted “a scheme to artificially inflate [Malibu’s] financial results, market share, and stock

 price by excessively shipping higher priced, higher margin, and slower moving Malibu boats at a

 time when demand was slowing; refusing to pay millions of dollars in earned dealer incentives;

 and failing to put into place an inventory repurchase agreement with Tommy’s floor plan lender,

 M&T Bank.” The Raymond James report stated that, given that Malibu had “end[ed] its

 relationship with Tommy’s after 12 years,” Malibu faced the problem that “the inventory owned

 by Tommy’s needs to find a home with other dealers.

          91.    The subsequent trading day, on April 15, 2024, Raymond James issued a more

 detailed report titled “Downgrading to Market Perform, as Headwinds and Uncertainties

 Continue to Mount.” Raymond James stated that “this shift to a neutral stance is in response to

 the loss of Tommy’s Boats, one of MBUU’s largest dealers (10.7% of total sales/23.3% of

 Malibu segment sales in FY23) which last week filed [the Tommy’s complaint].” Raymond



 {00658295;1 }                             – 35 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25         Page 35 of 58     PageID
                                            #: 35
 James noted that the Tommy’s Action would “likely remain an overhang on the stock,” and that,

 moreover, regardless of the outcome a “significant issue in our view is the impact of Tommy’s

 inventory being absorbed into the dealer channel on MBUU’s sales and margins, the implications

 of which we fear could extend into FY25.”

          92.    Additionally, Raymond James stated that an estimated $110 million of Tommy’s

 inventory of Malibu Segment boats “needs to find a home,” and that “how this inventory

 ultimately gets absorbed into [Malibu’s] dealer network” was a significant issue for Malibu’s

 sales, especially since other Malibu dealers “are already looking to reduce inventory given the

 current soft demand environment and will likely only do so at a steep discount.” As Raymond

 James noted, Malibu would likely “feel the impact” and potentially “share in the loss” as what

 inventory could be moved would be sold for pennies on the dollar, and as Malibu would likely

 have to provide costly “discounts and dealer incentives” to get other dealers to sell the boats.

          93.    In further reaction to the news regarding Tommy’s and the Raymond James

 downgrade, Malibu’s common stock price continued to decline sharply, falling another $2.34, or

 6%, to close at $36.14 per share on April 15, 2024.

          94.    On May 2, 2024, the Individual Defendants released financial results for the third

 quarter of FY 2024 that again fell short of expectations, causing guidance to be slashed for the

 third quarter in a row. Specifically, Malibu’s net sales fell 46% from the prior quarter to just

 $203.4 million—driven largely by a 65% decline in Malibu Segment sales—and Adjusted

 EBITDA plummeted nearly 70% to just $24.4 million, and Individual Defendants now

 forecasted that consolidated net sales for FY 2024 would be down more than 40% from the prior

 year.

          95.    On this news, Malibu’s stock price fell another 4%—or $1.27 per share—on



 {00658295;1 }                             – 36 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25             Page 36 of 58       PageID
                                            #: 36
 unusually high volume, from a close of $33.06 per share on May 1, 2024, to a close of $31.79

 per share on May 2, 2024.

          96.    On May 20, 2024, Tommy’s filed for Chapter 11 bankruptcy protection.

          97.    The Tommy’s Action was resolved when Malibu eventually agreed to pay

 Tommy’s $3.5 million and Malibu agreed to drop its $9.6 million claim against Tommy’s, after

 negotiations took place including a mediation in the bankruptcy.

          C.     The Channel Stuffing Scheme Ensured Inflated Incentive Compensation for
                 Defendant Springer

          98.    The Officer Defendants were motivated to perpetrate the channel stuffing scheme

 so that the Company could meet revenue targets and they could selfishly earn maximum bonus

 compensation for themselves. Further, under the Company’s compensation policy, defendant

 Springer was eligible for substantial cash bonuses equal to or greater than his entire salary if

 Malibu met certain specified targets for net income and Adjusted EBITDA.6

          99.    Defendant Springer’s base salary was set at $875,000 for FY 2023. However, if

 Malibu met or exceeded a net income threshold of $179.8 million and an Adjusted EBITDA

 threshold of $275.7 million for the year, defendant Springer would be eligible for an additional

 cash bonus equal to his base salary, thus doubling his compensation to $1.75 million. Defendant

 Springer would be eligible to receive an even larger bonus by exceeding that target.

          100.   Moreover, although the compensation plan provided for lower bonus levels if

 Malibu did not reach the specified net income and Adjusted EBITDA, those levels were a


 6
        Defendants Wilson, Black, and Beckman potentially would have been eligible to benefit
 from the scheme in a similar manner, but the timing of their employment ultimately did not
 allow for it. Specifically, defendant Wilson left the Company before the end of FY 2023,
 defendant Black only served as CFO for a small portion of FY 2023, and defendant Beckman
 was CFO during only part of FY 2024.



 {00658295;1 }                            – 37 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25            Page 37 of 58    PageID
                                           #: 37
 fraction of the amount that defendant Springer would receive if the Company met or exceeded

 those targets. If the Company achieved anything less than 90% of the specified net income and

 Adjusted EBITDA targets, then defendant Springer would not be eligible for any cash bonus.

 Indeed, if the Company’s financial results fell somewhere between 90% and 100% of the targets,

 defendant Springer stood to lose over half a million dollars. Thus, at 90% of the targets, Springer

 would be awarded just 35% of his maximum bonus amount – $306,250 – instead of the full

 $875,000 award to which he would be entitled if Malibu reached 100% of the specified targets.

 Thus, defendant Springer was highly motivated to ensure that Malibu booked enough sales

 during the Relevant Period in order to meet or exceed the full amount of the compensation plan’s

 specified targets.

          101.   Tellingly, in FY 2023—the year during which the inventory scheme was at its

 peak— Malibu achieved net income (excluding litigation expense) of $184.2 million, exceeding

 the target of $179.8 million by just $4.4 million, or a mere 2%. Similarly, the Company achieved

 Adjusted EBITDA of $284 million, a mere 3%, or $8.3 million, above its target of $275.7

 million. Strikingly, the Officer Defendants pumped a massive $50 million in excess inventory

 into the Tommy’s channel in May and June 2023 alone—the final few weeks before the end of

 FY 2023, and at a time when the Officer Defendants assuredly knew exactly how much in sales

 was necessary for Malibu to meet the predetermined net income and Adjusted EBITDA targets

 necessary to trigger defendant Springer’s bonus. These late sales to Tommy’s, which caused

 Malibu to slightly exceed its targets, rendered defendant Springer eligible to receive a cash bonus

 of $962,500—more than doubling his total cash compensation to $1.83 million for the year.

          102.   Further, given that Malibu met the specified financial targets by just a few million

 dollars, without the Officer Defendants’ channel-stuffing scheme, Malibu would not have



 {00658295;1 }                              – 38 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25           Page 38 of 58       PageID
                                             #: 38
 achieved anything close to the targets necessary for defendant Springer to obtain any bonus at

 all. Thus, the Officer Defendants had a strong personal financial motive to orchestrate and

 implement their illicit scheme.

          D.     The Securities Class Action

          103.   The Securities Class Action was initiated on behalf of a class of Malibu investors

 in the Southern District of New York on April 29, 2024.

          104.   On October 4, 2024, the lead plaintiffs to the Securities Class Action filed the

 operative Securities Complaint against the Company and defendants Springer, Beckman, Black,

 and Wilson, asserting claims for violations of the federal securities laws and seeking damages on

 behalf of a class of persons or entities who bought or otherwise acquired Malibu common stock

 during the “Class Period” of November 4, 2022 through May 1, 2024. As alleged herein, the

 allegations in the Securities Complaint are based in substantial part on the detailed CW accounts.

          E.     The Materially False and Misleading 2023 Proxy Statement

          105.   Also on September 15, 2023, the Individual Defendants caused the Company to

 file an Annual Proxy Statement on Schedule 14A with the SEC (the “2023 Proxy”).

          106.   The 2023 Proxy recommended that shareholders vote to elect defendants Chhina,

 Connolly, and Lanigan to the Board to serve until the Annual Meeting in 2026, and approve the

 compensation of certain of the Company’s executive officers. It also recommended that

 shareholders vote to ratify KPMG as the Company’s independent registered public accounting

 firm for the FY ending June 30, 2024.

          107.   The 2023 Proxy also stated the following regarding the Board’s role in risk

 oversight at the Company:

          The Board believes that effective risk management involves our entire corporate
          governance framework. Both management and the Board have key


 {00658295;1 }                             – 39 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25           Page 39 of 58      PageID
                                            #: 39
          responsibilities in managing risk throughout the Company, as shown below.
          Oversight of risks inherent in their respective areas of oversight are delegated to
          the various Board committees. At each regular meeting of the Board, the
          chairperson of each committee reports to the full Board regarding the matters
          reported and discussed at any committee meetings, including any matters relating
          to risk assessment or risk management. Our Chief Executive Officer, Interim
          Chief Financial Officer and outside legal counsel regularly attend meetings of
          these committees when they are not in executive session, and often report on
          matters that may not be otherwise addressed at these meetings. In addition, our
          directors are encouraged to communicate directly with members of management
          regarding matters of interest, including matters related to risk, at times when
          meetings are not being held. The Board believes that the processes it has
          established for overseeing risk would be effective under a variety of leadership
          frameworks and therefore do not materially affect its choice of leadership
          structure as described under “Board Leadership Structure” above.

          108.   The 2023 Proxy stated the following regarding the Company’s Code of Business

 Conduct and Code of Ethics:

          The Board has adopted a Code of Conduct applicable to our employees, directors
          and officers and a Code of Ethics. The Code of Ethics applies to our principal
          executive officer, principal financial officer, principal accounting officer and
          controller, or persons performing similar functions. The codes are available on the
          Corporate        Governance        section       of      our       website       at
          investors.malibuboats.com/corporate-governance. To the extent required by rules
          adopted by the SEC or Nasdaq, we intend to promptly disclose future
          amendments to certain provisions of the codes, or waivers of such provisions
          granted to executive officers and directors on our website at
          www.malibuboats.com.

          109.   The 2023 Proxy stated the following regarding the Company’s Clawback Policy:

          In fiscal 2022, the Board adopted a new clawback policy that permits us to
          clawback or recover cash and equity incentive compensation in the event of a
          material restatement of our financial statements or if a covered executive commits
          fraud during the course of employment that causes financial or reputational harm
          to us. In the event of a material restatement of our financial statements, the
          clawback would apply to any amount awarded after September 15, 2021 and paid
          in the three-year period preceding the restatement that would not have been
          received if the financial statements had been correctly stated. In the event a
          covered executive commits fraud, all cash and equity compensation awarded after
          September 15, 2021 is subject to clawback. All of the currently employed Named
          Executive Officers are subject to the clawback policy. This clawback policy will
          be amended to comply with the new SEC and Nasdaq rules, and we intend to
          retain the flexibility to clawback compensation in the event a covered executive


 {00658295;1 }                              – 40 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25           Page 40 of 58         PageID
                                             #: 40
          commits fraud, even though this clawback right is broader than required by the
          new rules.

          110.   Defendants Springer, Buch, Chhina, Connolly, Hooks, Lanigan, Lewis, Murphy,

 and Stokely caused the 2023 Proxy to be false and misleading by failing to disclose that (1) the

 risk oversight functions of the Board and its committees were not being performed as described,

 as evidenced by the occurrence of the Individual Defendants’ wrongdoing alleged herein, which

 involved members of the Board; and (2) although the 2023 Proxy claimed the Company’s Code

 of Conduct applied to the Company’s officers and directors, the Individual Defendants violated

 the Code of Conduct with no consequences.

          111.   Defendants Springer, Buch, Chhina, Connolly, Hooks, Lanigan, Lewis, Murphy,

 and Stokely further caused the 2023 Proxy to be false and misleading by failing to disclose that:

 (1) Malibu engaged in an “elaborate scheme to over manufacture and pump nearly $100 million

 of its highest priced, highest margin, slow moving boat inventory into fifteen Tommy’s

 dealerships”; (2) the Company artificially inflated Malibu’s sales performance, market share, and

 stock value; (3) the Company was withholding certain incentives and rebates from its dealers; (4)

 the Company faced substantial risk of litigation from one of its top dealers, Tommy’s; (5) the

 Company’s CEO departed due to his role in this scheme; and (6) as a result of the foregoing, the

 Individual Defendants’ positive statements about the Company’s business, operations, and

 prospects were materially misleading and/or lacked a reasonable basis.

          112.   As a result of the Individual Defendants’ false and misleading statements in the

 2023 Proxy, the Company’s stockholders made uninformed decisions when voting to re-elect the

 above Individual Defendants as proposed in the 2023 Proxy.

          F.     Insider Selling

          113.   Before the full disclosure by Malibu of the omitted material information discussed


 {00658295;1 }                             – 41 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 41 of 58     PageID
                                            #: 41
 herein, defendants Springer and Anderson sold 45,833 shares of Malibu common stock for

 collective proceeds of approximately $2.5 million while in possession of MNPI.

          114.   Defendant Springer sold 25,000 Malibu shares, while the price of the Company’s

 stock was artificially inflated for approximately $1,501,402 in proceeds while in possession of

 MNPI. As CEO, defendant Springer knew the truth about (1) the scheme to dump high priced,

 high margin, slow moving inventory into Tommy’s dealerships; (2) the resulting liability risk;

 (3) his own involvement in the scheme; and (4) that, as a result, the Company’s sales

 performance, market share, and stock value were artificially inflated.

          115.   Defendant Anderson sold 20,833 Malibu shares, while the price of the Company’s

 stock was artificially inflated for approximately $1,052,388 in proceeds while in possession of

 MNPI. As COO, defendant Anderson knew the truth about (1) the scheme to dump high priced,

 high margin, slow moving inventory into Tommy’s dealerships; (2) the resulting liability risk;

 (3) defendant Springer’s involvement; and (4) that, as a result, the Company’s sales performance,

 market share, and stock value were artificially inflated.

                                     BREACHES OF FIDUCIARY DUTIES

          116.   The conduct of the Individual Defendants complained of herein involves a

 knowing and culpable violation of their obligations as officers and/or directors of Malibu, the

 absence of good faith on their part, and a reckless disregard for their duties to the Company and

 its stockholders.

          117.   The Individual Defendants breached their duties of loyalty and good faith by

 utterly failing to implement a reasonable, relevant, meaningful, and well-constituted system of

 internal controls, especially with respect to disclosure of material information regarding the

 Company’s “elaborate scheme to over manufacture and pump nearly $100 million of its highest



 {00658295;1 }                             – 42 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 42 of 58    PageID
                                            #: 42
 priced, highest margin, slow moving boat inventory into fifteen Tommy’s dealerships”. As a

 result, the Company’s sales performance, market share, and stock value were artificially inflated.

 The Company was also withholding certain incentives and rebates from its dealers and, because

 of the foregoing, the Company faced substantial risk of litigation from one of its top dealers,

 Tommy’s. Moreover, the Company’s CEO departed due to his own role in this scheme as

 described herein. The Individual Defendants also breached their duties of loyalty and good faith

 by allowing the Company to cause, or by themselves causing, the Company to make improper

 statements to the public and the Company’s stockholders. These unlawful practices wasted the

 Company’s assets and caused Malibu substantial damage.

          118.   The Audit Committee Defendants had a duty per the Audit Charter to review the

 Company’s earnings press releases and regulatory filings. The Audit Committee Defendants

 breached their duties of loyalty and good faith by approving the omission of material

 information, making the improper statements detailed herein, and failing to properly oversee

 Malibu’s public statements and internal control functions.

          119.   The Individual Defendants, because of their positions of control and authority as

 officers and/or directors of Malibu, were able to and did, directly or indirectly, exercise control

 over the wrongful acts complained of herein. The Individual Defendants also failed to prevent

 the other Individual Defendants from taking such illegal actions. In addition, because of

 Individual Defendants’ improper course of conduct, the Company is now the subject of the

 Securities Class Action, which alleges violations of federal securities laws and exposes the

 Company to potentially massive liability. As a result, Malibu has expended, and will continue to

 expend, significant sums of money.

                                   DAMAGES TO THE COMPANY



 {00658295;1 }                              – 43 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25           Page 43 of 58      PageID
                                             #: 43
          120.   As a direct and proximate result of the Individual Defendants’ conduct, Malibu

 has expended and will continue to expend significant sums of money.

          121.   Such expenditures include, but are not limited to, legal fees associated with the

 aforementioned Securities Class Action of amounts paid to outside lawyers, accountants, and

 investigators in connection with internal investigations, and payments associated with the

 aforementioned issues.

          122.   As a direct result of the Individual Defendants’ conduct, Malibu has suffered and

 will continue to suffer a loss of reputation and goodwill and a “liar’s discount” that will plague

 the Company’s stock price in the future due to the Company’s actions and misrepresentations

 and the Individual Defendants’ breaches of fiduciary duties.

                     DERIVATIVE AND DEMAND EXCUSED ALLEGATIONS

          123.   Plaintiff repeats and re-alleges each and every allegation above as though fully set

 forth herein.

          124.   The Individual Defendants’ actions caused severe damages to Malibu, including

 tens of millions of dollars in potential liability in the Securities Class Action and undeserved

 remuneration paid to the Individual Defendants. In addition, the Company has incurred, and

 continues to incur, legal costs in connection with the ongoing Securities Class Action.

          125.   Plaintiff brings this action derivatively and for the benefit of Malibu to redress

 injuries suffered, and to be suffered, because of the Individual Defendants’ breaches of their

 fiduciary duties as directors and/or officers of Malibu, unjust enrichment, and violations of

 Section 14(a) of the Exchange Act.

          126.   Plaintiffs will adequately and fairly represent the interests of Malibu and its

 shareholders in enforcing and prosecuting its rights.



 {00658295;1 }                              – 44 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25           Page 44 of 58       PageID
                                             #: 44
          127.   Malibu is named solely as a nominal party in this action. This is not a collusive

 action to confer jurisdiction on this Court that it would not otherwise have.

          128.   A pre-suit demand on the Board of Malibu is futile and, therefore, excused. At the

 time of filing this action, the Board consists of nine directors: Individual Defendants (i) Buch,

 (ii) Chhina, (iii) Connolly, (iv) Hooks, (v) Lanigan, (vi) Murphy, (vii) Stokely, and (viii) Taylor,

 as well as non-party (ix) Steve D. Menneto (the “Demand Board”). Plaintiff needs only to allege

 demand futility as to a majority of the directors (i.e., five directors) who are on the Board at the

 time this action is commenced.

          129.   Plaintiff did not make a demand on the Demand Board prior to bringing this

 stockholder derivative suit because, as set forth below, a majority of the Demand Board faces a

 substantial likelihood of personal liability and is therefore incapable of making an independent

 and disinterested decision to bring the claims herein.

          130.   Demand is excused as to the eight Individual Defendants currently on the Demand

 Board because each one of them faces, individually and collectively, a substantial likelihood of

 liability as a result of the scheme in which they engaged, knowingly or recklessly, to make

 and/or cause the Company to make false and misleading statements regarding its “elaborate

 scheme to over manufacture and pump nearly $100 million of its highest priced, highest margin,

 slow moving boat inventory into fifteen Tommy’s dealerships”. As a result, the Company’s sales

 performance, market share, and stock value were artificially inflated. The Company was also

 withholding certain incentives and rebates from its dealers and that, because of the foregoing, the

 Company faced substantial risk of litigation from one of its top dealers, Tommy’s, and the

 Company’s CEO departed due to his role in this scheme as described herein. The scheme was

 intended to make the Company appear more profitable and attractive to stockholders. The



 {00658295;1 }                             – 45 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25             Page 45 of 58      PageID
                                            #: 45
 Demand Board defendants breached their fiduciary duties, face a substantial likelihood of

 liability and are not disinterested. Demand upon them is futile and this excused.

          131.   The Demand Board defendants, together and individually, violated and breached

 their fiduciary duties by knowingly approving and/or permitting the wrongs alleged herein and

 participating in efforts to conceal those wrongs.

          132.   Additionally, the eight Individual Defendants on the Demand Board willfully

 ignored, or recklessly failed to inform themselves of, the obvious problems with the Company’s

 internal controls, practices, and procedures and failed to make a good faith effort to correct the

 problems or prevent their recurrence.

          133.   The Demand Board defendants, as members of the Board, were and are subject to

 Malibu’s Code of Conduct. The Demand Board defendants violated the Code of Conduct

 because they knowingly or recklessly participated in making and/or causing the Company to

 make the materially false and misleading statements alleged herein. Because the Demand Board

 defendants violated the Code of Conduct, they face a substantial likelihood of liability for

 breaching their fiduciary duties, and therefore demand upon them is futile.

          134.   Moreover, the Audit Committee Defendants solicited the 2023 Proxy. The 2023

 Proxy was false and misleading in violation of Section 14(a) of the Exchange Act. Therefore,

 demand upon them is futile and further excused.

          135.   Demand is further excused as to Defendant Buch. Defendant Buch has served as a

 Company director since February 2014. The Company provides Defendant Buch with significant

 compensation for his role as stated above. As such, Defendant Buch cannot independently

 consider any demand to sue himself for breaching his fiduciary duties to the Company, because

 that would expose him to liability. This lack of independence and the financial benefits received



 {00658295;1 }                             – 46 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 46 of 58     PageID
                                            #: 46
 by Defendant Buch render him incapable of impartially considering a demand to commence and

 vigorously prosecute this action. Further, as a trusted Company director, he consciously

 disregarded his duties to protect corporate assets by conducting little, if any, oversight to prevent

 the scheme that caused the Company to make false and misleading statements. As a result,

 Defendant Buch breached his fiduciary duties, faces a substantial likelihood of liability and is

 neither independent nor disinterested. Thus, demand upon Defendant Buch is futile and excused.

          136.   Demand is further excused as to Defendant Chhina. Defendant Chhina has served

 as a Company director since February 2014. The Company provides Defendant Chhina with

 significant compensation for his role as stated above. As such, Defendant Chhina cannot

 independently consider any demand to sue himself for breaching his fiduciary duties to the

 Company, because that would expose him to liability. This lack of independence and the

 financial benefits received by Defendant Chhina render him incapable of impartially considering

 a demand to commence and vigorously prosecute this action. Further, as a Company director he

 consciously disregarded his duties to protect corporate assets by conducting little, if any,

 oversight to prevent the scheme that caused the Company to make false and misleading

 statements. As a result, Defendant Chhina breached his fiduciary duties, faces a substantial

 likelihood of liability, and is neither independent nor disinterested. Thus, demand upon

 Defendant Chhina is futile and excused.

          137.   Demand is further excused as to Defendant Connolly. Defendant Connolly has

 served as a Company director since February 2014. The Company provides Defendant Connolly

 with significant compensation for his role as stated above. As such, Defendant Connolly cannot

 independently consider any demand to sue himself for breaching his fiduciary duties to the

 Company, because that would expose him to liability. This lack of independence and the



 {00658295;1 }                              – 47 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25            Page 47 of 58       PageID
                                             #: 47
 financial benefits received by Defendant Connolly render him incapable of impartially

 considering a demand to commence and vigorously prosecute this action. Further, as a Company

 director he consciously disregarded his duties to protect corporate assets by conducting little, if

 any, oversight to prevent the scheme that caused the Company to make false and misleading

 statements. As a result, Defendant Connolly breached his fiduciary duties, faces a substantial

 likelihood of liability and is neither independent nor disinterested. Thus, demand upon Defendant

 Connolly is futile is excused.

          138.   Demand is further excused as to Defendant Hooks. Defendant Hooks is Chairman

 of the Board and has served as a Company director since February 2014. The Company provides

 Defendant Hooks with significant compensation for his role as stated above. As such, Defendant

 Hooks cannot independently consider any demand to sue himself for breaching his fiduciary

 duties to the Company, because that would expose him to liability. This lack of independence

 and the financial benefits received by Defendant Hooks render him incapable of impartially

 considering a demand to commence and vigorously prosecute this action. Further, as a trusted

 Company director, he consciously disregarded his duties to protect corporate assets by

 conducting little, if any, oversight to prevent the scheme that caused the Company to make false

 and misleading statements. As a result, Defendant Hooks breached his fiduciary duties, faces a

 substantial likelihood of liability, and is neither independent nor disinterested. Thus, demand

 upon Defendant Hooks is futile and excused.

          139.   Demand is further excused as to Defendant Lanigan. Defendant Lanigan served as

 a Company director since February 2014. The Company provides Defendant Lanigan with

 significant compensation for his role as stated above. As such, Defendant Lanigan cannot

 independently consider any demand to sue himself for breaching his fiduciary duties to the



 {00658295;1 }                             – 48 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 48 of 58      PageID
                                            #: 48
 Company, because that would expose him to liability. This lack of independence and the

 financial benefits received by Defendant Lanigan render him incapable of impartially

 considering a demand to commence and vigorously prosecute this action. Further, as a trusted

 Company director, he consciously disregarded his duties to protect corporate assets by

 conducting little, if any, oversight to prevent the scheme that caused the Company to make false

 and misleading statements. As a result, Defendant Lanigan breached his fiduciary duties, faces a

 substantial likelihood of liability, and is neither independent nor disinterested. Thus, demand

 upon Defendant Lanigan is futile and excused.

          140.   Demand is further excused as to Defendant Murphy. Defendant Murphy served as

 a Company director since February 2014. The Company provides Defendant Murphy with

 significant compensation for his role as stated above. As such, Defendant Murphy cannot

 independently consider any demand to sue himself for breaching his fiduciary duties to the

 Company, because that would expose him to liability. This lack of independence and the

 financial benefits received by Defendant Murphy render him incapable of impartially

 considering a demand to commence and vigorously prosecute this action. Further, as a trusted

 Company director, he consciously disregarded his duties to protect corporate assets by

 conducting little, if any, oversight to prevent the scheme that caused the Company to make false

 and misleading statements. As a result, Defendant Murphy breached his fiduciary duties, faces a

 substantial likelihood of liability and is neither independent nor disinterested. Thus, demand

 upon Defendant Murphy is futile and excused.

          141.   Demand is further excused as to Defendant Stokely. Defendant Stokely served as

 a Company director since February 2014. The Company provides Defendant Stokely with

 significant compensation for his role as stated above. As such, Defendant Stokely cannot



 {00658295;1 }                            – 49 –
Case 3:25-cv-00142-TAV-DCP          Document 1 Filed 04/08/25          Page 49 of 58      PageID
                                           #: 49
 independently consider any demand to sue himself for breaching his fiduciary duties to the

 Company because that would expose him to liability. This lack of independence and the financial

 benefits received by Defendant Stokely render him incapable of impartially considering a

 demand to commence and vigorously prosecute this action. Further, as a trusted Company

 director, he consciously disregarded his duties to protect corporate assets by conducting little, if

 any, oversight to prevent the scheme that caused the Company to make false and misleading

 statements. As a result, Defendant Stokely breached his fiduciary duties, faces a substantial

 likelihood of liability, and is neither independent nor disinterested. Thus, demand upon

 Defendant Stokely is futile and excused.

          142.   Demand is further excused as to Defendant Taylor. Defendant Taylor served as a

 Company director since April 2023. The Company provides Defendant Taylor with significant

 compensation for her role as stated above. As such, Defendant Taylor cannot independently

 consider any demand to sue herself for breaching her fiduciary duties to the Company because

 that would expose her to liability. This lack of independence and the financial benefits received

 by Defendant Taylor render her incapable of impartially considering a demand to commence and

 vigorously prosecute this action. Further, as a trusted Company director, she consciously

 disregarded her duties to protect corporate assets by conducting little, if any, oversight to prevent

 the scheme that caused the Company to make false and misleading statements. As a result,

 Defendant Taylor breached her fiduciary duties, faces a substantial likelihood of liability, and is

 neither independent nor disinterested. Thus, demand upon Defendant Taylor is futile and

 excused.

          143.   Furthermore, Defendants Buch, Chhina, Stokely, and Taylor have served as

 members of the Audit Committee during the Relevant Period. As such, they are responsible for



 {00658295;1 }                              – 50 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25            Page 50 of 58       PageID
                                             #: 50
 the integrity of Malibu’s financial statements. Specifically, the Audit Charter provides that the

 Audit Committee is responsible for:

           The Committee is appointed by the Board to assist the Board in, among other
           things, overseeing the accounting and financial reporting processes and the audits
           of the financial statements of the Company and its financial risk management
           policies and controls and assisting the Board in fulfilling its responsibility for
           oversight of the quality and integrity of the accounting, auditing, internal control
           and financial reporting practices of the Company. In addition, the Committee is
           appointed by the Board to assist the Board in overseeing the Company’s risk
           management with respect to data privacy, cybersecurity and information
           technology risks.

           144.   In their capacities as Audit Committee members, Defendants Buch, Chhina,

 Stokely, and Taylor reviewed and approved materially misleading statements and allowed the m

 to be disseminated in Malibu’s SEC filings and other disclosures. Thus, Defendants Buch,

 Chhina, Stokely, and Taylor breached their fiduciary duties, are not disinterested, and demand is

 excused as to them for this additional reason.

           145.   Consequently, this shareholder derivative action should be allowed to proceed.

                                               COUNT I

       Against Individual Defendants for Violations of Section 14(a) of the Exchange Act

           146.   Plaintiffs incorporate by reference and re-allege each allegation set forth above, as

 though fully set forth herein.

           147.   The Section 14(a) Exchange Act claims alleged herein are based solely on

 negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

 of the Individual Defendants. The Section 14(a) claims alleged herein do not allege and do not

 sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of,

 or reference to any allegation of fraud, scienter, or recklessness with regard to these non-fraud

 claims.



 {00658295;1 }                               – 51 –
Case 3:25-cv-00142-TAV-DCP             Document 1 Filed 04/08/25            Page 51 of 58         PageID
                                              #: 51
          148.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

 be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

 commerce or of any facility of a national securities exchange or otherwise, in contravention of

 such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

 interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

 proxy or consent or authorization in respect of any security (other than an exempted security)

 registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

          149.   Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that

 no proxy statement shall contain “any statement which, at the time and in the light of the

 circumstances under which it is made, is false or misleading with respect to any material fact, or

 which omits to state any material fact necessary in order to make the statements therein not false

 or misleading.” 17 C.F.R. § 240.14a-9.

          150.   In the exercise of reasonable care, the Individual Defendants should have known

 that by misrepresenting or failing to disclose the foregoing material facts, the statements

 contained in the 2023 Proxy was materially false and misleading. The misrepresentations and

 omissions were material to Plaintiff in voting on the matters set forth for stockholder

 determination in the 2023 Proxy, including, but not limited to, election of directors, ratification

 of an independent auditor, and the approval of executive compensation.

          151.   The false and misleading elements of the annual Proxies led to the re-elections of

 several of the Individual Defendants to the Board, allowing them to continue breaching their

 fiduciary duties to Malibu.

          152.   The Company was damaged as a result of the Individual Defendants’ material

 misrepresentations and omissions in the 2023 Proxy.



 {00658295;1 }                              – 52 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25              Page 52 of 58       PageID
                                             #: 52
          153.   Plaintiff, on behalf of Malibu, has no adequate remedy at law.

                                              COUNT II

                 Against Individual Defendants for Breach of Fiduciary Duties

          154.   Plaintiffs incorporate by reference and re-allege each allegation contained above,

 as though fully set forth herein.

          155.   Each Individual Defendant owed to the Company the duty to exercise candor,

 good faith, and loyalty in the management and administration of Malibu’s business and affairs as

 directors and/or officers of the Company.

          156.   Each of the Individual Defendants violated and breached their fiduciary duties of

 candor, good faith, loyalty, and reasonable inquiry, causing the Company to engage in the

 misconduct described herein.

          157.   The Individual Defendants had actual or constructive knowledge that the

 Company issued materially false and misleading statements, and they failed to correct the

 Company’s public statements. The Individual Defendants either had actual knowledge of the

 misrepresentations and omissions of material facts set forth herein, or acted with reckless

 disregard for the truth in that they failed to ascertain and disclose such facts, even though such

 facts were available to them. Such material misrepresentations and omissions were committed

 knowingly or recklessly and for the purpose and effect of artificially inflating the price of the

 Company’s securities.

          158.   The Individual Defendants failed to correct and/or caused the Company to fail to

 rectify any of the wrongs described herein or correct the false and misleading statements and

 omissions of material fact referenced herein, rendering them personally liable to the Company

 for breaching their fiduciary duties.



 {00658295;1 }                                 – 53 –
Case 3:25-cv-00142-TAV-DCP               Document 1 Filed 04/08/25       Page 53 of 58      PageID
                                                #: 53
          159.   The Individual Defendants engaged in a sustained and systematic failure to

 properly exercise their fiduciary duties. Among other things, the Individual Defendants breached

 their fiduciary duties of loyalty and good faith by allowing the Company to improperly

 misrepresent its publicly reported financials. These actions could not have been a good-faith

 exercise of prudent business judgment to protect and promote the Company’s corporate interests.

          160.   The Individual Defendants had actual or constructive knowledge that they had

 caused the Company to improperly engage in the fraudulent schemes set forth herein, and that

 internal controls were not adequately maintained, or acted with reckless disregard for the truth, in

 that they caused the Company to improperly engage in the fraudulent schemes and fail to

 maintain adequate internal controls, even though such facts were available to them. Such

 improper conduct was committed knowingly or recklessly and for the purpose and effect of

 artificially inflating the price of the Company’s securities. The Individual Defendants, in good

 faith, should have taken appropriate action to correct the schemes alleged herein and to prevent

 them from continuing to occur.

          161.   These actions were not a good-faith exercise of prudent business judgment to

 protect and promote the Company’s corporate interests.

          162.   As a direct and proximate result of the Individual Defendants’ breaches of their

 fiduciary obligations, Malibu has sustained and continues to sustain significant damages. As a

 result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

          163.   Plaintiff, on behalf of Malibu, has no adequate remedy at law.

                                            COUNT III

                  Against Insider Trading Defendants for Unjust Enrichment

          164.   Plaintiff incorporates by reference and re-alleges each and every allegation set



 {00658295;1 }                             – 54 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25            Page 54 of 58       PageID
                                            #: 54
 forth above, as though fully set forth herein.

          165.   By their wrongful acts, violations of law, false and misleading statements, and

 omissions of material fact that they made and/or caused to be made, the Defendants Anderson

 and Springer were unjustly enriched at the expense and to the detriment of Malibu.

          166.   Defendants Anderson and Springer either benefitted financially from the improper

 conduct, received unjust compensation tied to the false and misleading statements, received

 bonuses, stock options, or similar compensation from Malibu tied to the performance or

 artificially inflated valuation of Malibu, or received compensation that was unjust in light of the

 Individual Defendants’ bad faith conduct, or sold stock at artificially inflated prices during the

 Relevant Period.

          167.   Plaintiff, as a stockholder and a representative of Malibu, seeks restitution from

 the Demand Defendants and seeks an order from this Court disgorging all profits— including

 benefits, performance-based, valuation-based, and other compensation—obtained by Defendants

 Anderson and Springer due to their wrongful conduct and breach of their fiduciary duties.

          168.   Plaintiff, on behalf of Malibu, has no adequate remedy at law.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment as follows:

          A.     Declaring that Plaintiff may maintain this derivative action on behalf of Malibu

 and that Plaintiff is a proper and adequate representative of the Company;

          B.     Awarding the amount of damages sustained by the Company as a result of the

 Individual Defendants’ breaches of fiduciary duties and unjust enrichment;

          C.     Directing Malibu to take all necessary actions to reform and improve its corporate

 governance and internal procedures to protect Malibu and its stockholders from a repeat of the



 {00658295;1 }                              – 55 –
Case 3:25-cv-00142-TAV-DCP            Document 1 Filed 04/08/25           Page 55 of 58      PageID
                                             #: 55
 damaging events described herein, including, but not limited to strengthening the Company’s

 internal reporting and financial disclosure controls;

          D.     Awarding punitive damages;

          E.     Awarding costs and disbursements of this action, including reasonable attorneys’

 fees, accountants’ and experts’ fees, costs, and expenses; and

          F.     Granting such other and further relief as the Court may deem just and proper.

                                           JURY DEMAND

          Plaintiffs demand a trial by jury.



 Dated: April 8, 2025                          Respectfully submitted,



                                               s/Paul Kent Bramlett
                                               Paul Kent Bramlett (TN #7387)(MS#4291)
                                               Robert Preston Bramlett (TN #25895)
                                               BRAMLETT LAW OFFICES
                                               P.O. Box 150734
                                               Nashville, TN 37215
                                               Tel: (615) 248-2828
                                               Fax: (866) 816-4116
                                               pknashlaw@aol.com

                                               Counsel for Plaintiff


 OF COUNSEL:

 POMERANTZ LLP

 Gustavo F. Bruckner
 Samuel J. Adams
 Ankita Sangwan
 600 Third Avenue
 New York, NY 10016
 (212) 661-1100



 {00658295;1 }                               – 56 –
Case 3:25-cv-00142-TAV-DCP             Document 1 Filed 04/08/25         Page 56 of 58      PageID
                                              #: 56
 SHUMAN, GLENN & STECKER

 Kip B. Shuman
 100 Pine Street, Suite 1250
 San Francisco, CA 94111
 (303) 861-3003

 Brett D. Stecker
 326 W. Lancaster Avenue
 Ardmore, PA 19003
 (303) 861-3003

 Rusty E. Glenn
 600 17th Street, Suite 2800 South
 Denver, CO 80202
 (303) 861-3003




 {00658295;1 }                             – 57 –
Case 3:25-cv-00142-TAV-DCP           Document 1 Filed 04/08/25   Page 57 of 58   PageID
                                            #: 57
                                              VERIFICATION
           I, John M. Schulz, hereby verify that I am familiar with the allegations in the foregoing Verified

    Stockholders Derivative Complaint (the "Complaint"). I have held shares of Malibu Boats, Inc. at all

    times relevant to the Complaint. I have reviewed the allegations in the Complaint and, as to those

    allegations of which I have personal knowledge, I know those allegations to be true, accurate, and

    complete. As to those allegations of which I do not have personal knowledge, I rely on my counsel and

    their investigation, and for that reason, I believe them to be true. Having received a copy of the foregoing

    Complaint and having reviewed it, I hereby authority its filing.

           I declare under penalty of perjury that the foregoing is true and correct.


                              zt,J,    ANIL
           Executed this£day of Mmch, 2025.




Case 3:25-cv-00142-TAV-DCP               Document 1 Filed 04/08/25                  Page 58 of 58          PageID
                                                #: 58
